           NOT YET SCHEDULED FOR ORAL ARGUMENT

             United States Court of Appeals
           for the District of Columbia Circuit

                                        No. 21-1042
                             (Consolidated with 21-1109)


                 VILLAGE OF MORRISVILLE, VERMONT,
                                                                Petitioner,
                                             v.
           FEDERAL ENERGY REGULATORY COMMISSION,
                                                                Respondent.
                       ––––––––––––––––––––––––––––––
           VERMONT AGENCY OF NATURAL RESOURCES,
                                                    Intervenor for Respondent.
        On Appeal from the Federal Energy Regulatory Commission in
                    No. FERC-1: FERC-173FERC61156.

             PROOF BRIEF FOR PETITIONER


CAROLYN ELEFANT                                   PAUL V. NOLAN
LAW OFFICES OF CAROLYN ELEFANT                    LAW OFFICE OF PAUL V. NOLAN
7315 Wisconsin Avenue                             5515 17th Street North
Bethesda, Maryland 20814                          Arlington, Virginia 22205
(202) 297-6100                                    (703) 534-5509
carolyn@carolynelefant.com                        pvnpvndiver@gmail.com

                                                  Counsel for Petitioner

March 18, 2024

                 (800) 4-APPEAL • (810158)
                 CERTIFICATE AS TO PARTIES, RULINGS UNDER REVIEW AND
                                 RELATED CASES


I.    Parties and Amici
      A.    Parties and Intervenors before the Federal Energy Regulatory
            Commission in the Proceeding below:
            1.     Parties:
                   •      Village of Morrisville, Vermont
            2.     Intervenors:
                   •      Vermont Agency of Natural Resources
                   •      American Whitewater
                   •      Vermont Paddler’s Club
      B.    Parties and Intervenors in this Court:
            1.     Petitioners:
                   •      Village of Morrisville, Vermont
            2.     Respondent:
                   •      Federal Energy Regulatory Commission
            3.     Intervenors:
                   •      The Vermont Agency of Natural Resources filed for
                          intervention on February 24, 2021.
II.   Rulings under Review
      A.    Village of Morrisville, Vermont, Declaratory Order on Waiver of
            Water Quality Certification, 173 FERC ¶61,156 (November 19, 2020)
            (Declaratory Order), JA __,
      B.    Village of Morrisville, Vermont, Notice of Denial of Rehearing By
            Operation of Law and Providing For Further Consideration, 174
            FERC ¶ 62,040 (January 21, 2021)(Notice of Denial), JA __, and
      C.    Village of Morrisville, Vermont, Order Addressing Arguments Raised
            on Rehearing, 174 FERC ¶61,141 (February 24, 2021)(Rehearing
            Order), JA __.



                                            ii
III.   Related Cases
       No other cases are pending regarding the Commission orders on review. The

       Commission order on review pending before this Court in KEI (Maine)

       Power Management (III) LLC, v. FERC, Docket No. 20-1303 was dismissed

       by Order dated June 1, 202

       Counsel for Petitioner is aware of two related cases that are or may come

       before this court or another appellate court:

          • Tower Kleber Limited Partnership, Project No. 10615-059, 186 FERC
            ¶61,149 (February 27, 2024)(Order declaring waiver for failure to act
            within one year).
          • Nevada Irrigation District v. FERC, (D.C. Cir. Docket No. 23-1342);
            a related case is pending before the Commission, Nevada Irrigation
            District, Project No. 2266-_-, Supplemental Petition on
          • Remand for Declaratory Order on Waiver of Certification Authority
            (September 9, 2023).


/s/_Paul V. Nolan

March 18, 2024




                                              iii
                                           TABLE OF CONTENTS

CERTIFICATE AS TO PARTIES, RULINGS UNDER REVIEW AND
RELATED CASES ................................................................................................... ii

   I.        Parties and Amici .......................................................................................... ii
   II.       Rulings under Review ................................................................................... ii
   III.       Related Cases.............................................................................................. iii

TABLE OF CONTENTS ..........................................................................................iv

TABLE OF AUTHORITIES ....................................................................................vi

GLOSSARY OF ABBREVIATIONS ......................................................................ix

JURISDICTIONAL STATEMENT .......................................................................... 1

STANDARD OF REVIEW ....................................................................................... 2

STATEMENT OF THE ISSUE ................................................................................. 3

STATUTORY AND REGULATORY PROVISIONS ............................................. 3

STATEMENT OF THE CASE .................................................................................. 4

   I. INTRODUCTION AND OVERVIEW ............................................................ 4
        A.      The Federal Power Act and Clean Water Act ............................................ 5
        B.      The One-Year Limitation is Inviolate ........................................................ 8
   II. The Morrisville Hydroelectric Project Relicensing ....................................... 13
        A.      First Reset of the One-Year Limitation Period: November 7, 2014 ........ 15
        B.      Second Reset of the One Year Limitation Period: September 9, 2015 .... 18
        C.      Final Environmental Assessment: December 15, 2014 ........................... 23
        D.      2016 Water Quality Certificate Issued: August 9, 2016 .......................... 24
        E.      The Commission’s CWA §401(a)(1) Waiver Determination:
                November 20, 2020 .................................................................................. 25

SUMMARY OF THE ARGUMENT ...................................................................... 33

ARGUMENT ........................................................................................................... 34

                                                                  iv
   I. The Commission’s Waiver Determination Violated §401(a)(1)
   Of The CWA ........................................................................................................ 34
      A.     The Commission’s Waiver Determination Violated The Plain Language
             Of §401(a)(1) ........................................................................................... 34
      B.     The Commission’s Interpretation of §401(a)(1) Is Inconsistent With The
             CWA’s Purpose And Legislative History ................................................ 35
   II. The Commission’s Findings Are Unsupported By Substantial Evidence ..... 37
      A.     The Commission Erred When It Found That The Village Of Morrisville
             Acted Unilaterally In Withdrawing And Resubmitting Its Water Quality
             Certification Application .......................................................................... 37
      B.     The Commission Erred When It Found That Vermont ANR Was Not
             Complicit In The Withdraw-And-Resubmit Scheme ............................... 38
      C.     The Commission Erred When It Found That There Was Not A
             Functional Agreement Between The Vermont Agency of Natural
             Resources And Morrisville To Coordinate The Withdrawal And Refiling
             Of Morrisville’s Water Quality Certification Application ....................... 44
      D.     The Commission Erred In Its Determination That It Was Not Necessary
             To Determine Whether The Water Quality Certification Applications As
             Withdrawn And Resubmitted Differed .................................................... 48

CONCLUSION ........................................................................................................ 52

CERTIFICATE OF COMPLIANCE ....................................................................... 56

CERTIFICATE OF SERVICE ................................................................................ 57




                                                                v
                                     TABLE OF AUTHORITIES


Court Cases                                                                                         Page(s)

Alcoa Power Generation, Inc. v. FERC, 643 F.3d 963 (D.C. Cir. 2011) .................. 1

City of Salisbury v. FERC, 36 F.4th 1164 (D.C. Cir. 2021) ...................................... 2

Hoopa Valley Tribe v. FERC, 913 F.3d 1099 (D.C. Cir. 2019), cert. denied,
140 S. Ct. 650 (2019) ...................................................... 1, 2, 5, 8, 10, 12, 25, 30, 31

New York State Department of Environmental Conservation v. Federal
Energy Regulatory Commission (New York I), 884 F.3d 450 (2nd Cir. 2018) ......... 8

New York State Department of Environmental Conservation v. Federal
Energy Regulatory Commission (New York II), 991 F.3d 439 (2nd Cir. 2021) ..2, 35

Turlock Irrigation District and Modesto Irrigation District v. Federal
Energy Regulatory Commission, 36 F.4th 1179 (D.C. Cir. 2022), cert.
denied, 143 S. Ct. 1746 (2023) ......................................................................7, 42, 43

Waterkeepers Chesapeake v. FERC, 56 F.4th 45 (D.C. Cir. 2022) .......................... 7

Administrative Orders and Proceedings

Central Vermont Public Service Corporation, Project No. 2205-018, 113
FERC ¶61,167 (November 17, 2005) ........................................................8, 9, 10, 11

Goose River Hydro, Inc., Project No. 2804-037, Order Terminating License
by Implied Surrender, 183 FERC ¶62,044 (2023) ................................................... 24

Merced Irrigation District, Project Nos. 2179 & 2467, 171 FERC ¶ 61,240
(2020), reh’g denied by operation of law, 172 FERC ¶ 62,098 (August 20,
2020) (consolidated, California State Water Resources Control Board, et al.
v. FERC, 43 F.4th 920 [9th Cir. 2022]) .............................................................12, 13

Moriah Hydro Corporation, Project No. 12635-002, 173 FERC ¶ 62,132
(December 11, 2020).................................................................................................. 6

Pacific Gas and Electric Co., 170 FERC ¶ 61,232, at P. 40 (March 19, 2020) ...... 42

Pacific Gas and Electric Company, 172 FERC ¶61,064 (2020) ............................. 42

                                                              vi
Pacific Gas and Electric Company and Nevada Irrigation District, 186
FERC 61,121 (2024) ................................................................................................ 37

South Feather Water and Power Agency, 171 FERC ¶ 61,242, reh’g denied,
172 FERC ¶ 62,101 (2020) ...................................................................................... 42

Southern California Edison Co., 170 FERC ¶ 61,135 (February 20, 2020) ........... 42

The Village of Morrisville, Vermont, Project No. 2629-014, 173 FERC
¶61,156 (November 19, 2020)(Declaratory Order) ...........................................27, 54

Tower Kleber Limited Partnership, Project No. 10615-059, 186 FERC
¶61,149 (February 27, 2024)(Declaratory Order)..............................................5, 7, 9

Other Authorities

Vermont Agency of Natural Resources, Department of Environmental
Conservation, Section 401 Water Quality Certification Practice (2014)
(“Procedure Manual”) ........................................................................3, 11, 16, 22, 45

Vermont Water Pollution Control Permit Regulations ............................3, 16, 18, 46

Statutes & Regulations

18 U.S.C. §1001 ....................................................................................................... 29

Administrative Procedure Act. 5 U.S.C. §§551–559................................................. 2

Clean Water Act, 33 U.S.C. §1251 et seq............................. 2, 5, 11, 25, 28, 29, 34,
                                                            35, 36, 40, 42, 43, 48, 52, 53

         §401, 33 U.S.C. §1341 .............................................. 1, 2, 4, 8, 11, 21, 26, 29,
                                                                                 30, 31, 35, 39, 42, 46

         §401(a)(1), 33 U.S.C. §1341(a)(1) .................. 3, 4, 5, 6, 8, 10, 13, 25, 31, 33,
                                                           34, 35, 36, 40, 43, 46, 50, 52, 54

Federal Power Act, 16 U.S.C. §§791a-825r ................................5, 6, 7, 8, 43, 52, 53

         16 U.S.C. §825l(b) ....................................................................................... 1, 2

Scope of Review

         5 U.S.C. §706(2)(A) ........................................................................................ 2

                                                                vii
18 C.F.R. § 5.23(b)(1)(ii) ...............................................................................5, 17, 38

18 C.F.R. § 5.23(b)(2) ................................................................................................ 5

40 C.F.R. § 121.7(a)................................................................................................... 7

D.C. Cir. Rule 28(f) ................................................................................................... 3




                                                               viii
                   GLOSSARY OF ABBREVIATIONS
Vermont ANR      Vermont Agency of Natural Resources (agency)

Commission       Federal Energy Regulatory Commission

CWA              Clean Water Act, 33 U.S.C. §1251 et seq

DEC              New York State Department of Environmental Conservation

Declaratory      Village of Morrisville, Vermont, Declaratory Order on Waiver
Order            of Water Quality Certification, 173 FERC ¶61,156 (November
                 19, 2020)

EPA              U.S. Environmental Protection Agency

FPA              Federal Power Act, 16 U.S.C. §§791a-825r

February Order   Village of Morrisville, Vermont, Docket No. P-2629-028,
or               Order Addressing Arguments Raised On Rehearing, 174
                 FERC ¶ 61,141 (February 24, 2021) (“Rehearing Order”)
Rehearing
Order

FERC             Federal Energy Regulatory Commission

Hoopa Valley     Hoopa Valley Tribe v. FERC , 913 F.3d 1099 (D.C. Cir.
                 2019), cert. denied, 140 S. Ct. 650 (2019)

Merced           Merced Irrigation District, Project Nos. 2179 & 2467, 171
Irrigation       FERC ¶ 61,240 (2020), reh’g denied by operation of law, 172
District         FERC ¶ 62,098 (2020).

MW               megawatt

MWL or           Morrisville Water and Light Department
MW&L

Nevada           Nevada Irrigation District, Project No. 2266-102, 171 FERC ¶
Irrigation       61,029 (2020), on reh’g, 172 FERC ¶ 61,082 (2020)
District



                                        ix
New York I       New York State Department of Environmental Conservation v.
                 Federal Energy Regulatory Commission, 884 F.3d 450 (2nd
                 Cir. 2018)

New York II      New York State Department of Environmental Conservation v.
                 Federal Energy Regulatory Commission, 991 F.3d 439 (2nd
                 Cir. 2021)

NID              Nevada Irrigation District

VWPCPR           Vermont Water Pollution Control Permit Regulations

Notice of Denial Village of Morrisville, Vermont, Docket No. P-2629-028,
                 Notice Of Denial Of Rehearing By Operation Of Law And
                 Providing For Further Consideration, 174 FERC ¶ 62,040
                 (January 21, 2021)

P                Internal paragraph number in a FERC Order

WQC              Water Quality Certification

Yuba County      Yuba County Water Agency, Project No. 2246-065, 171 FERC
Water Agency     ¶ 61,139, on reh’g, (2020)




                                          x
                       JURISDICTIONAL STATEMENT
      This Court has jurisdiction to review the Commission’s Orders under 16

U.S.C. § 8251(b). On November 19, 2020, the Commission issued a Declaratory

Order on Waiver of Water Quality Certification. JA___. On December 21, 2020,

within thirty days of issuance of the Declaratory Order, Morrisville timely filed its

Request for Rehearing. JA___. The Commission issued on January 21, 2020, Notice

of Denial of Rehearing By Operation of Law and Providing For Further

Consideration. A petition for review was timely filed on January 26, 2021 (No. 21-

1042) within sixy days of the Notice. The Commission issued on February 24, 2021,

Order Addressing Arguments Raised on Rehearing. JA___. A petition for review

was filed on April 23, 2021 (No. 21-1109).

      Furthermore, whether a State agency has waived the certification requirement

under Section 401 is a question of federal law that is within the Court’s subject-

matter jurisdiction. See Alcoa Power Generation, Inc. v. FERC, 643 F.3d 963, 972

(D.C. Cir. 2011); see also Hoopa Valley Tribe v. FERC, 913 F.3d 1099, 1103 (D.C.

Cir. 2019).

      Morrisville, as project owner and licensee, is directly aggrieved by the orders

on review. The injury to its interests is capable of redress because FERC can issue a

waiver. The Morrisville Petitions for Review challenge final Commission orders that

disposed of all of Morrisville’s claims before the Commission.

                                             1
                           STANDARD OF REVIEW

      The Commission does not administer the CWA. “[B]ecause FERC is not the

agency charged with administering the CWA, the Court owes no deference to its

interpretation of Section 401 or its conclusion regarding the states’ waiver.” Hoopa

Valley, 913 F.3d at 1099. Accord New York State Department of Environmental

Conservation v. Federal Energy Regulatory Commission (New York II), 991 F.3d

439, 445 (2nd Cir. 2021) (“We review de novo FERC’s interpretation of the Clean

Water Act, a statute it does not administer”). Thus, the Commission’s interpretation

of the CWA is subject to the Court’s de novo review.

      This Court accepts findings of fact supported by substantial evidence (16

U.S.C.S. § 825l(b)), and also considers whether the decision is arbitrary and

capricious under the Administrative Procedure Act. 5 U.S.C.S. § 706(2)(A). “A

decision is not arbitrary if it is reasonable and reasonably explained.” City of

Salisbury v. FERC, 36 F.4th 1164, 1170 (D.C. Cir. 2021).




                                            2
                           STATEMENT OF THE ISSUE
Whether the Commission’s conclusion that the Vermont Agency of Natural

Resources (Vermont ANR) had not waived its certification authority under section

401(a)(1) of the Clean Water Act, despite not taking action within a reasonable

period of time on a request for certification by the Village of Morrisville, Vermont

(Morrisville) was arbitrary, capricious and unsupported by substantial evidence

because the Commission (erroneously) found that that Morrisville had unilaterally

withdrawn and refiled its application twice over a thirty-one and a half month period

that commenced on January 30, 2014 and concluded with issuance of a certificate

on August 16, 2016.



              STATUTORY AND REGULATORY PROVISIONS

Pertinent statutes and regulations are reproduced in the Addendum to this brief. D.C.

Cir. Rule 28(f).

      The addendum includes:

                   • Vermont Agency of Natural Resources, Department of
                     Environmental Conservation, Section 401 Water Quality
                     Certification Practice (2014)(“Procedure Manual”)

                   • Pertinent portion of Section 13.11 of Vermont Water Pollution
                     Control Permit Regulations




                                             3
                             STATEMENT OF THE CASE

   I.      INTRODUCTION AND OVERVIEW

        The Commission orders finding no waiver because Morrisville acted

unilaterally in circumvention of Section 401(a)(1) are in error and ignore the

implications of the orders by allowing future license applicants to avoid the one-year

limitation by acting alone. Moreover, the orders are in error because they ignored

twice substantial evidence submitted by Morrisville that it was threatened with

harsher terms and conditions if Morrisville did not withdraw and resubmit a 401

water quality application, ignored the sole authority of Vermont ANR to act on an

application with a reasonable period, not to exceed one year, and the significant

authority of the agency to control the entire licensing process by imposition of

mandatory terms and conditions, and ignored that with each withdraw and

resubmission of a 401 application, Vermont ANR needed additional time to

complete drafting a certificate, issuing a draft for public comment, conduct a hearing

and issuing a certificate.

        If unilateral action by Morrisville is a dance of avoidance, Vermont ANR set

the tune and dance. As such, the Commission’s orders are tone deaf to the realities

of the subservient position of a municipal utility such as Morrisville to that of a state

agency wielding significant authority over licensing, project operation through



                                               4
mandatory certificate conditions, and ultimately the feasibility and practicality of

accepting any license that the Commission may issue.

        A.     The Federal Power Act and Clean Water Act
        Under section 401(a)(1) of the Clean Water Act (CWA),1 a certifying agency

must act on a water quality certification request within a reasonable period of time

not to exceed one year. Hoopa Valley Tribe v. FERC, 913 F.3d 1099, 1103–04 (D.C.

Cir. 2019) (quoting 33 U.S.C. § 1341(a)(1)). Accord, Tower Kleber Limited

Partnership, Project No. 10615-059, Order On Petition for Declaratory Order, 186

FERC ¶ 61,149 (Feb. 27, 2024).

        The Commission’s regulations provide that: “[a] certifying agency is deemed

to have waived the certification requirements of section 401(a)(1) of the Clean Water

Act if the certifying agency has not denied or granted certification by one year after

the date the certifying agency received a written request for certification.” 18 CFR

§ 5.23(b)(2). The Commission’s regulations require an applicant submit to the

Commission (1) a copy of the request for certification, including proof of the date on

which the certifying agency received the request. 18 CFR § 5.23(b)(1)(ii). When a

state denies certification within the statutory one-year period, the Commission




1
    33 U.S.C. § 1341(a)(1).
                                             5
cannot issue a license.”2 The Commission requires an applicant to provide a copy

of the denial within 30-days after the applicant received it.

        A state may deny certification with or without prejudice. A state may also

permit an applicant to refile for certification with the same application or a new

(revised) application. The significance is that denial (with or without prejudice)

puts before the Commission the opportunity to exercise its licensing authority under

the FPA by deciding whether or not to proceed with processing a licensing

application. Thus, Commission policy gives notice to a license applicant that the

Commission may dismiss the license application 90 days after the denial; unless the

applicant notifies the Commission within the 90-day period that is has filed a timely

appeal of the denial, and/or that it has refiled its WQC request, then it will keep the

license application on file. See, e.g., Moriah Hydro Corporation, Order Dismissing

License Application, Project No. 12635-002, 173 FERC ¶ 62,132, P. 10, (December

11, 2020).

        A certifying agency can act at any time. It does not need to coordinate with

the applicant nor does the applicant need to act or have an intent to delay to its

benefit. The state agency can (a) grant certification with or without conditions, (b)




2
    33 U.S.C. §1341(a)(1).

                                              6
deny certification with or without prejudice, or (c) expressly waive the certification

requirement.

      In Tower Kleber Limited Partnership,3 the Commission provided a straight-

forward technique of analysis for determining whether a certifying agency has failed

to act timely on an application that can be summarized as follows: (1) establish the

date of receipt of the certification request; and (2) determine whether the certifying

agencies actions constituted a failure to act within one year. With regard to the latter,

the Commission held that: (1) the Commission must determine whether a certifying

agency’s actions constituted a failure or refusal to act within one year; (2) a

certifying agency and an applicant, even by mutual agreement, cannot circumvent

the one-year deadline; (3) a certifying agency’s reason for delay is immaterial.

      Granting or denying a certification request allows the Commission to

proceed with its licensing responsibilities under the FPA. Resetting the one-year

period, whether done with concerted activity, e.g., an agreement between a state

certification agency and an applicant, or “unilaterally” by an applicant, can



3
  Tower Kleber Limited Partnership, 183 FERC PP 15, 19, (fn. 43 – “The 2023
rulemaking retained the definition to act from a 2020 rulemaking that established
four definitive methods for a certifying authority to act: (1) grant certification; (2)
grant certification with conditions; (3) deny certification; or (4) waive certification.
See 40 C.F.R. § 121.7(a) (2023)”). See also, Turlock Irrigation Dist. v. FERC, 36
F.4th 1179, 1184 (D.C. Cir. 2022), cert denied, 143 S. Ct. 1746 (2023); and
Waterkeepers Chesapeake v. FERC, 56 F.4th 45, 47 (D.C. Cir. 2022).
                                               7
circumvent the Commission’s authority and responsibilities under the FPA. Of

course, the certifying agency can address any abuse by denying an application with

prejudice.

      B.     The One-Year Limitation is Inviolate
      The one-year limitation period contained in §401(a)(1) is a bright line

denominating the scope and limit of state authority that is inviolate.4 Hoopa Valley

made it clear that such schemes did not restart the one-year period in condemning a

withdrawal and resubmission scheme where a state agency worked with an applicant

to withdraw and resubmit an identical certification request before the expiration of

the one-year statutory period in an effort to restart repeatedly the one-year clock. 913

F.3d at 1103, 1105.

      The Commission’s Order on Rehearing and Clarification in Central Vermont

Public Service Corporation, Project No. 2205-018, 113 FERC ¶61,167 (Nov. 17,

2005) is relevant. The proceeding involved the Lamoille River Hydroelectric

Development Project, a project located downstream of the Morrisville’s Project.




4
 See, e.g., New York State Department of Environmental Conservation v. Federal
Energy Regulatory Commission (New York I), 884 F.3d 450, 454 (2nd Cir. 2018):
“The plain language of Section 401 outlines a bright-line rule regarding the
beginning of review: the timeline for a state’s action regarding a request for
certification ‘shall not exceed one year’ after ‘receipt of such request.’” (footnote
omitted, emphasis added).

                                              8
Vermont ANR and the applicant had engaged in a protracted course of withdrawing

and resubmitting applications for certification.

         In Central Vermont Public Service Corporation. the Commission noted that

“Central Vermont filed, withdrew, and refiled certification requests six times.”5

During that period, Vermont ANR and Central Vermont were acting within the

scope of a settlement agreement. However, the one-year period involved with the

sixth withdraw and resubmission had lapsed without Central Vermont withdrawing

the current application before Vermont ANR. The Commission concluded that

Vermont ANR “did not act on the application within one year,”6 and as a result found

that Vermont ANR had waived water quality certification.”7 In its Order on

Rehearing, the Commission affirmed this finding: “Vermont failed to act on Central

Vermont’s March 1, 2004 application within one year of its receipt, and Commission

staff was correct in concluding that this failure resulted in waiver of the agency’s

Section 401 authority.”8




5
    Central Vermont Public Service Corporation, infra at P 6.
6
    Id. at P 14.
7
    Id. See also, Tower Kleber Limited Partnership, 186 FERC ¶ 61,149.
8
 Id. at P 16. “As a general matter, we find the language and intent of the Clean
Water Act to be clear, and our regulations ... provide that failure to meet the one-
year deadline will constitute waiver.” Id. at P 21.

                                              9
          Vermont ANR had argued that a litigation settlement agreement remanding

the §401(a)(1) application to Vermont ANR had the effect of extending the one-year

review period. The Commission did not accept this argument: “Vermont's

agreements with other parties are simply not relevant to the issue of whether it met

the requirement of the Clean Water Act that it act on a certification application

within one year, which it does not dispute it failed to do.”9

          The Commission noted in Central Vermont that Vermont ANR bore the

responsibility for failing to ask Central Vermont to withdraw and resubmit its

§401(a)(1) certification application: “It is only now, after the agency has failed,

apparently through its own error, to get Central Vermont to withdraw and refile its

application one more time, that Vermont invokes the power of the settlement and its

interpretation of the purposes of the Clean Water Act.”10

          The Commission’s acceptance of a withdrawal/resubmission scheme in

Central Vermont is of note because the Commission could have declared the

certification requirement waived at any time and did not have to await the expiration

of a one-year period on the sixth iteration in a withdraw/resubmit scheme. As

discussed above, such schemes were rejected subsequently in Hoopa Valley.11


9
    Id.
10
     Id. at P 19 (emphasis added).
11
     913 F.3d at 1103, 1105.

                                             10
      The inadvertent waiver that occurred in Central Vermont was addressed in the

Vermont     Agency     of   Natural    Resources,    Department      of   Environmental

Conservation, Section 401 Water Quality Certification Practice (2014). Addendum

__. Specifically, sections §IV(b)(1) and (2) of the 2014 practice (procedure manual)

provide:

      (b)    Coordination with Federal Agency; Decision Time Clock.

             (1)     Section 401 of the federal Clean Water Act provides that
                     a state must act on a request for certification within a
                     “reasonable period of time,” which cannot exceed one year
                     after receipt of the request, or the certification requirement
                     shall be waived. …

             (2)     To avoid an inadvertent waiver of a WQC, the 401
                     Program Coordinator will contact the involved federal
                     agency upon receipt of a WQC application to determine
                     the federal agency’s timeframe for noticing and issuing its
                     federal license or permit. The 401 Program Coordinator
                     will document this timeline in writing. If more time is
                     needed to make a decision, the 401 Program Coordinator
                     will request an extension and confirm in writing. If the
                     federal agency will not grant additional time, the
                     Department may suggest to the applicant that it withdraw
                     and resubmit its application, thereby restarting the clock,
                     or the Department may deny the certification without
                     prejudice if there is insufficient information to make a
                     final decision and encourage the applicant to resubmit the
                     application.

                     (emphasis added)




                                               11
         The Court in Hoopa Valley addressed the question of whether the repeated

withdrawal and resubmission of an application without material changes would

avoid the bright-line one-year limitation:

         PacifiCorp sent a letter indicating withdrawal of its water quality
         certification request and resubmission of the very same ... in the same
         one-page letter ... for more than a decade. Such an arrangement does
         not exploit a statutory loophole; it serves to circumvent a
         congressionally granted authority over the licensing, conditioning, and
         developing of a hydropower project.12

         In subsequent cases involving withdrawal/resubmission schemes, e.g.,

“resets,” both the Commission and the courts sometimes have inquired as to whether

there was a material difference between the withdrawn and resubmitted applications.

In Merced Irrigation District, for example, the Commission noted that the

withdrawals and resubmissions began in 2015 and that each was accomplished via a

one- or two-page letter.13 The Commission also noted that “[e]ach letter was

substantively identical to the 2015 withdrawal and resubmittal letters.”14 Other

inquires have included: Did the project developer act alone? Did the developer

receive assistance with the withdrawal/resubmission scheme? If the developer did




12
     913 F.3d at 1104 (emphasis in original).
13
     171 FERC ¶ 61,240 at P 8-9.
14
     Id. at P-12.

                                                12
receive assistance, did it come from the state agency with §401(a)(1) certification

authority or another branch of state government?

      Other significant inquiries are whether the state agency actually assisted the

applicant in a withdrawal/resubmission scheme;15 and whether there was any type

of an agreement between the applicant and the certification agency to withdraw and

resubmit the certification request in order to avoid the one-year limitation of

§401(a)(1). Irrespective of the nature of such agreements (i.e., formal, informal,

functional, etc.) Commission decisions and recent caselaw have made it clear that

the use of such agreements as a means of avoiding the bright-line, one-year

limitation of §401(a)(1) is unacceptable.


      II.    The Morrisville Hydroelectric Project Relicensing

      Morrisville, with a population of approximately 2100, is a small village in the

town of Morristown, Lamoille County, Vermont. The Morrisville Hydroelectric

Project (Project) is a 4.99 megawatt (MW) hydroelectric project with four

developments located on the Lamoille River, the Green River and the Elmore Pond

Brook in Lamoille County, Vermont.




15
  In Merced Irrigation District, for example, the Board “invited Merced to contact
the Board staff ‘[i]f you have any questions regarding this request or this
process[.]’”171 FERC ¶ 61,240 at P 8, footnote 14.
                                            13
      On August 28, 1981, the Commission issued a 35-year license. Twenty-nine

years later, Morrisville commenced the formal pre-filing agency consultation

process for the submission of a new license (relicensing). Morrisville filed an

application for a new license on April 25, 2013. JA __. The license expired on April

30, 2015. Nine years later, Morrisville continues to operate the project under an

annual license. JA__.

      Morrisville requested water quality certification on January 30, 2014. A copy

of Vermont ANR’s certification application form consisting of two preprint pages,

without attachments, was filed by Morrisville with the Commission on February 2,

2014. JA __. In a February 3, 2014 letter to Morrisville, Vermont, ANR confirmed

receipt of the application and that the application was administratively complete. By

a letter dated February 28, 2014, Vermont ANR informed Morrisville that the

application was technically complete, requested additional information to be

provided within 30 days and noted that the application could be denied without

prejudice if the information is not provided. JA __.

      Commencing with the filing of the 2014 application, Morrisville and Vermont

engaged in an active exchange of positions, requests for information, submission of

assessments, proposals and review thereof. For example, in June 2014, Morrisville

proposed revised mitigation flow measures, as well as a phased-in approach to



                                            14
implementing the water quality conditions contained in Vermont ANR's December

2013 preliminary terms and conditions. JA __.

      A.      First Reset of the One-Year Limitation Period: November 7, 2014

      Of note is a series of email messages exchanged on October 29, 2014. See

Perry Memorandums (JA__ and __). This email exchange was one of several email

messages threads and telephone calls that occurred in late October and early

November, 2014. Mr. Meddie Perry was Morrisville’s environmental scientist.

According to him:

           • On October 29, 2014, Shap Smith … spoke with Craig Myotte
             … and stated he talked with Justin Johnson … and Liz Miller[,]
             In the October 29, 2014 call, Mr. Smith related to Mr. Myotte the
             suggestion of Mr. Johnson and Ms. Miller that MWL
             [Morrisville Water and Light] should withdraw its 2014 Water
             Quality Certification application and resubmit it in order to give
             the parties more time to solve their issues.

           • Mr. Myotte informed me of these discussions via emails and
             phone calls on October 29 and 30, 2014. According to
             representative Smith, Deputy Secretary Johnson commented that
             if Morrisville withdraws and then re-applies there is no guarantee
             that a 401 WQC would be more favorable than Vermont ANR’s
             current stance, but if MWL does not withdraw the WQC would
             definitely be unfavorable. (emphasis in original).

           • On November 3, 2014, John Groveman (then Vermont General
             Counsel, currently attorney for VNRC and Trout Unlimited in
             the MWL state court litigation) spoke with Jeff Nelson … and
             discussed Vermont ANR’s suggestion to withdraw the 2014

                                             15
            WQC application. Mr. Groveman said to withdraw and refile
            immediately. Mr. Nelson discussed this call with me on
            November 3, 2014 and told me that Mr. Groveman strongly
            stated that withdrawal will be a better deal for MWL than staying
            the course. I relayed the summary of this discussion to MWL.
            (emphasis in original)

      Approximately one week later, Morrisville, by a letter dated November 7,

2014, emailed Vermont ANR and withdrew and resubmitted its application for

certification. JA __. Two and a half months were remaining before the one-year

period for the January 30, 2014 application would have expired. A period of time in

which Vermont ANR would have to issue a draft certification (“Tentative

Determination”)16, issue public notice, afford a minimum of 30 days for comment,

convene a public hearing-comment period before issuing a final certificate on or

before January 30, 201517; constituting a procedural inability. Instead, Vermont

ANR continued with its efforts and those of Morrisville to assess the Project’s

operation as provided in the 2013 relicense application, an application that had not

changed since its filing on the January 2014 Vermont ANR.




16
   VT ANR 2014 Section 401 Water Quality Certification Practice, VII.(1).
Addendum __.
17
   Id. IX. Addendum __. The VT ANR Secretary shall provide a “period of not
less than thirty (30) days following the date of the public notice.” Section
13.3(c)(2) of the Vermont Water Pollution Control Permit Regulations
(VWPCPR). Addendum __. Section 13.3 -A agency Processing of Completed
Applications. Addendum __.
                                            16
      The Morrisville November 7, 2024 letter to Vermont ANR was not filed with

the Commission. Upon receipt of the Morrisville letter, Vermont ANR on that same

day sent a letter to Morrisville acknowledging the reset, i.e., the withdraw and

resubmission of the certification application, and also filed its November 7, 2014

acknowledgement letter with the Commission. JA __. Vermont ANR in its letter

thanked Morrisville “for your cooperation” and acknowledged that the withdrawal

and reapplication had occurred “concurrently.” JA. __.

      Morrisville did not inform the Commission of the reset submission despite the

requirements of 18 C.F.R. § 5.23(b)(1)(ii) requiring an applicant to submit with the

Commission “a copy of the request for certification, including proof of the date on

which the certifying agency received the request.”

      Morrisville’s November 7, 2014 letter did not include an executed copy of

Vermont ANRs two page application form. JA__. The November 7, 2014 letter

alone served as the resubmitted certification application.

      Morrisville stated in its November 7, 2014 letter that “[t]o accommodate

VTANR review of Morrisville’s various proposals, including its recently submitted

phase-in proposal, and in consideration of other factors that have arisen in

discussions with the VTANR over the course of the past year, Morrisville hereby

withdraws its January 30, 2014 application and simultaneously reapplies for Section

401 water quality certification in the FERC relicense for project No 2629.” JA __.
                                             17
      As noted in the Morrisville November 7, 2014 letter, “resetting” the one year

time period was discussed with Vermont ANR as early as, if not earlier than, October

2014. JA___ (Request for Rehearing), JA___(December 2020 Perry Memorandum).

As noted in the Perry memorandum, the 2014 reset was proposed initially by

Vermont ANR and was done with the involvement of the Vermont Governor’s Chief

of Staff. JA __. Despite the coercion to reset the one-year period or be presented

with harsher terms, Vermont ANR and Morrisville continued their exchange of

information, studies, positions, etc. See, for example, the exchange of email

messages between Leslie Welts, Vermont ANR and Craig Myotte, Morrisville. JA

__, JA __ (threat).

      B.     Second Reset of the One Year Limitation Period: September 9, 2015

      One month before the second reset of September 9, 2015, Vermont ANR, on

August 15, 2015, released for review and comment to Morrisville and stakeholders,

its report “Green River Reservoir Littoral Habitat Assessment,” which provided an

analysis related to the forthcoming water-level and drawdown conditions in the

WQC for the Green River development impoundment (reservoir). Perry December

2020 Memorandum, JA __. Again, in the remaining month, Vermont ANR would

have issued a draft certificate, notice thereof, solicited public comment, etc., all

before issuing or denying a certificate. See Section 3 of VWPCPR (Vermont Water

Pollution Control Permit Regulations), Addendum __.

                                            18
      On August 26, 2015, a meeting was held that included Morrisville’s manager

at the time, Craig Myotte, Trey Martin (then Vermont ANR Deputy Secretary) and

staff from the Department of Public Service. The essence of this meeting was

captured in a subsequent email message from Mr. Myotte to Mr. Martin JA __.

      Given all that was discussed yesterday … I am concerned about the
      impending deadline for Vermont ANR to issue a draft certification. I
      would truly like to explore the options we discussed[.] … For this
      reason, I want to inquire whether Vermont ANR would be willing to
      support a further extension - by way of withdrawing and resubmitting
      the WQC application? (emphasis in original)

      The question of whether “Vermont ANR would be willing to support a further

extension” foreshadowed a period of negotiation between Vermont ANR and

Morrisville regarding the terms and conditions required by Vermont ANR as a

condition precedent to supporting and agreeing to Morrisville’s plan to withdraw

and resubmit its WQC application, i.e., the first “reset.” Vermont ANR’s terms and

conditions were listed in an August 28, 2015 email message from Craig Myotte

(General Manager, MWL) to its attorney, Elijah Emerson (Attorney, Primmer Piper

Eggleston & Cramer PC):

      I talked with Trey Martin [Deputy Secretary, Vermont Agency of
      Natural Resources] this morning regarding the email that I sent him
      yesterday. Trey stated that the Vermont ANR could support the
      withdrawal and reapplication under the following conditions:


      1.    MW&L accepts the Vermont ANR's bypass flow levels at
            Morrisville and Cadys Falls and agrees not to contest or seek

                                           19
           legislative changes. They need this agreement in the next couple
           of weeks.


     2.    A firm timeline needs to be set for completing the tasks outlined
           in my Aug. 27 email to Trey. Trey is looking at an extension
           through April of 2016 not necessarily another 12 months.

     JA___ and ___ (2015-08-28 Email from Craig Myotte to Elijah

     Emerson (July and December Perry Memorandums, Attachment 4).


     Shortly thereafter, on September 3, 2015, Mr. Myotte sent an email to Mr.

Martin responding to Vermont ANR’s terms and conditions:

     The purpose of this email is to follow-up on the discussion we had last
     week regarding Morrisville's withdrawal and reapplying its WQC
     application.

     In our discussion last week, you stated the Vermont ANR would have
     a couple of conditions in supporting a second withdrawal and
     reapplication. These conditions are summarized below.

     I.    Morrisville would agree with the bypass flows recommended by
           the Vermont ANR and not seek legislative change or challenge
           the bypass flow recommendations in Environmental Court.

     2.    The time extension resulting from the withdrawal/reapplying
           would be limited to a shorter time period of3 to 6 months.

     Morrisville cannot agree to the Vermont ANR's first condition and
     Morrisville asks the Vermont ANR to consider supporting deferring the
     issuance of a draft WQC for about 4 months until the end of 2015
     (December 31,2015).




                                          20
      JA___ and __ (2015-09-03 Email string (3 September 2015) Craig
      Myotte, Trey Martin, July and December 2020 Perry Memorandums,
      Attachment 5).

      Mr. Martin responded to Mr. Myotte the following day, September 4, 2015:

      Thank you for your email and continued effort to work towards a
      resolution of the outstanding issues between Vermont ANR and
      Morrisville Water & Light (MWL) before issuance of the 401 Water
      Quality Certification. We have considered your request below to delay
      issuance of the 401 WQC to December 31, 2015, and I am happy to let
      you know that Vermont ANR will support this extension in order to
      continue working with you and your team on the conditions for the
      Green River Reservoir facility. However, we will not be able to support
      any further extensions beyond December 31, 2015.

      JA___ and __. (emphasis added) (2015-09-08 Email string (3-8
      September 2015) Craig Myotte, July and December 2020 Perry
      Memorandums, Attachment 6).

      Discussions between Vermont ANR and Morrisville continued. On

September 9, 2015, Jeff Crocker (River Ecologist, Watershed Management

Division, Vermont Department of Environmental Conservation) sent an email to Mr.

Myotte telling him what documentation Vermont ANR was going to need and when

that documentation needed to be submitted:

      Following up on my voicemail from this morning. The Agency will
      need a letter from Morrisville Water and Light by the close of business
      today (Wednesday) if Morrisville Water and Light wishes to withdraw
      its November 7, 2014 application and simultaneously reapply for a
      Section 401 water quality certification. I have attached your letter last
      year as a template.

      JA___ (2015-09-09 Email string (9 September 2015) Craig Myotte,
      Perry July and December 2020 Perry Memorandums, Attachment 7),
                                             21
      On September 9, 2015, in a letter emailed to Vermont ANR, Morrisville

submitted its “Withdrawal and Reapplication.” JA ___. Later that day, Vermont

ANR acknowledged receipt of Morrisville’s September 9, 2015, letter, noting that

“that Morrisville Water and Light is withdrawing its application for a water quality

certification for the Morrisville Hydroelectric Project and concurrently is reapplying

for a certification.” JA___.

             Again, the reset was done by a two page letter and not with the requisite

Vermont ANR form as required by the 2014 Certification Practice (procedure

manual). Addendum __. In concert with Morrisville’s request, Vermont ANR also

acknowledged receipt of the simultaneous withdrawal and refiling of the application

on September 9, 2015, and filed it with the Commission that same day. JA __.

Morrisville did not file its September 9, 2015 letter with the Commission.

      Within months of the second reset, as noted in the December 2020 Perry

Memorandum: on December 18, 2015, Vermont ANR issued a memorandum

entitled “Green River Reservoir Littoral Habitat Assessment Proximity analysis and

additional transect data.” This memorandum referred to the August 2015 report as

“the draft Green River Reservoir Littoral Habitat Assessment.” The memorandum

amended some of the results of the August 2015 report and analyzed new data,

stating “In refining operating recommendation for Green River Reservoir, the

Agency has analyzed the macrophyte data collected at the M-transect and D-

                                             22
transects, located at 1 m depth and 2 m depth, respectively. This analysis will be

included in the revised littoral habitat assessment report.”

(footnotes omitted, italics in original). JA___ (December 2020 Perry Memorandum,

p. 3).

         Despite two resets without Vermont ANR taking any action on the

certification application, the Commission did nothing. It did not inquire as to

whether progress was being made with regard to the certification; it did not ask

whether the resets should be treated as dismissals (with or without prejudice); it did

not correspond with Vermont ANR and/or Morrisville concerning certification, due

diligence, etc.


         C.    Final Environmental Assessment: December 15, 2014

         In the time between the two resets, the Commission did issue a final

environmental assessment on December 15, 2014. JA __.18 Thus, the Commission,

without a draft or final water quality certificate, was able to complete its assessment

of the application for relicensing, which includes assessments on water quality,

habitat, etc., less than two months after the first reset of November 7, 2014, and well

before the second reset of September 9, 2015.




18
     The Commission had issued a draft environmental assessment on June 20, 2014.
                                             23
      D.     2016 Water Quality Certificate Issued: August 9, 2016

      On August 9, 2016, a month before the third one-year period would have

expired, Vermont ANR issued a water quality certification. JA __. (notice of

certification appeal filed with Commission). Morrisville appealed the water quality

certificate to the Vermont Superior Court, Environmental Division, on September

13, 2016, and to the Vermont Supreme Court on October 18, 2018. On November

22, 2019, the Vermont Supreme Court affirmed in part, and reversed and remanded

in part, regarding the conditions imposed by Vermont ANR's water quality

certification. The Vermont Superior Court, Environmental Division issued a

decision on the merits following remand on August 26, 2020. By letter dated

September 4, 2020, Vermont ANR submitted to the Commission “Final conditions

of Water Quality Certification,” which reflected the current conditions upon close

of court proceedings. JA __.

      One of the 2016 certification requirements, which would be a mandatory

condition in a license if issued by the Commission,19 involved a significant dam


19
   In response to the 2016 certification’s requirements for maintenance of a higher
impoundment for the Green River’s development level during winter months, the
Commission requested a safety analysis of the Green River dam including (i) a
hydraulic and hydrology analysis and (ii) a stability analysis. This information, held
in abeyance pending the state court proceedings, is still pending. Until it is furnished,
the Commission cannot complete its assessment of the proposed project for
licensing. Failure to supply it could result in the Commission’s dismissal of the
application. See, e.g., Goose River Hydro, Inc., Project No. 2804-037, Order
Terminating License by Implied Surrender, 183 FERC ¶62,044 (2023).
                                              24
safety issue that the Commission must resolve before it may make a determination

on the 2013 application; whether or not to issue a new license.

      E.     The Commission’s CWA §401(a)(1) Waiver Determination:
             November 20, 2020

      While state court proceedings were ongoing, on January 25, 2019, the United

States Court of Appeals for the District of Columbia Circuit (D.C. Circuit) issued an

opinion in Hoopa Valley Tribe v. FERC, ruling that, where a state and an applicant

agree to repeatedly withdraw and refile the same water quality certification request,

the state has waived its Clean Water Act certification authority.

      On May 28, 2020, Morrisville filed its Petition for Declaratory Order

Regarding Waiver of Water Quality Certification Requirement with the

Commission. JA.__. The Commission issued public notice of Morrisville’s petition

on June 1, 2020, and established July 1, 2020, as the deadline for filing comments.

      In response, Vermont ANR and other commentators argued that the

Commission should not find that Vermont ANR had waived its certification

authority because (i) waiver would be inconsistent with the CWA, (ii) Hoopa Valley

was inapplicable, (iii) Hoopa Valley could not be applied retroactively, (iv)

Morrisville lacked standing, (v) Morrisville had unclean hands and (vi) the doctrine

of laches precluded Morrisville’s relief. JA___, JA___. Vermont ANR’s response,




                                             25
filed on July 1, 2020, included thirty-six (36) attachments, in total six hundred and

sixty pages (660).

      On July 27, 2020, Morrisville filed a response with an affirmed statement, i.e.,

the July 2020 memorandum from Morrisville’s environmental consultant, Meddie

Perry, summarizing the agreement with and coordination between Morrisville and

Vermont ANR to withdraw and resubmit Morrisville’s §401 Water Quality

Certification application. July Perry memorandum, JA ___.

      The July Perry memorandum included seven attachments. Attachment 3

provided notes of a November 3, 2014 conversation between a Morrisville

environmental consultant with Vermont ANR’s General Counsel (John Groveman).

Stopping the clock was discussed with withdrawing being a better deal for

Morrisville than staying the course. Vermont ANR would work with Morrisville on

wording of the withdrawal. JA __.

      Attachment 5 is a September 3, 2015 email from Morrisville to Vermont

ANR’s Deputy Secretary, Trey Martin. The email’s subject line states “ Request to

Extend [one-year period] to 12/31/2015 for issuance of WQC for Morrisville

Hydro.” In the email, Morrisville informed Vermont ANR that it would agree to

several Vermont ANR certificate conditions “supporting a second withdraw and

reapplication. JA __.



                                            26
      Attachment 7 included a September 9, 2015, email from Vermont ANR to

Morrisville that followed upon on a voicemail message from Vermont ANR to

Morrisville on the morning of September 9, 2015 that the agency would need

Morrisville’s letter resetting the one-year period “by the close of business today

(Wednesday) [September 9, 2015] if Morrisville Water and Light wishes to

withdraw its November 7, 2014 application and simultaneously reapply for a Section

401 water quality certification.” JA __. Why the deadline of September 9, two

months before the expiration of second reset one-year period, was not discussed.

      Morrisville asserted that the interactions described by Mr. Perry, along with

the concurrent withdrawal and resubmission of Morrisville’s certification

application and Vermont ANR’s same day acknowledgement and with Vermont

ANR filing its letter with the Commission, showed an ongoing pattern of cooperation

and coordination between Morrisville and Vermont ANR for over at least two years.

      Vermont ANR filed a response to Morrisville's July 27, 2020 filing, arguing

that the correspondence only shows an effort to resolve disagreements and give

Morrisville time to submit additional information, and is not evidence of

coordination. Declaratory Order, 173 FERC ¶61,156, P 11, JA __.

      On November 19, 2020, the Commission issued a Declaratory Order on

Waiver of Water Quality Certification, JA__. concluding that “Vermont ANR’s

actions do not provide a sufficient basis to find that it waived its authority to issue a
                                              27
certification under the CWA.” JA __. (citation omitted). In support of this

conclusion, the Commission found that Morrisville had acted unilaterally.

Specifically, “the record does not reflect that Morrisville had a functional agreement

with Vermont ANR to coordinate withdrawal and refiling for the purpose of

providing the state more time to act on Morrisville’s application.” JA__.

      The Commission went on to note that “where the licensee withdraws and

refiles its application in order to avoid potentially unfavorable water quality

certification conditions, the licensee acts unilaterally for its own benefit and by its

own initiative, which is not a sufficient basis to find waiver” JA__. (footnote

omitted).

      The Commission acknowledged that the “Vermont ANR may have provided

Morrisville information as to how and when to withdraw and resubmit its

application” but did not find that “this correspondence reflects that Vermont ANR

sought withdrawal and resubmittal to circumvent the one-year statutory deadline for

the state agency to act.” JA__. (footnotes omitted). Vermont ANR’s need for more

time to act, though noted in the “this correspondence,” was not addressed by the

Commission’s order.

      Finally, on the issue of the extent to which the Petitioner’s application had

changed with each resubmission, the Commission determined that where an

applicant “voluntarily delays the issuance of a water quality certificate by
                                             28
withdrawing and refiling its application, absent an agreement with the state, then

waiver is not warranted, regardless of whether or to what extent the refiled

application changes from the original.” JA__. (emphasis added).

      On December 21, 2020, Morrisville filed a Request for Rehearing. JA__. This

request raised three issues (JA__):

      1.     Whether the Commission erred in not finding that Vermont ANR had
             waived its authority to issue a Water Quality Certificate under §401 of
             the CWA by its conduct, considered jointly or separately.
      2.     Whether the Commission erred in holding that Morrisville had acted
             unilaterally for its benefit solely and ignoring, at a minimum, the
             certifying agency’s participation in resetting the one-year period twice
             before issuing a certificate; especially when the agency at any time
             could have denied the application(s) before it.
      3.     Whether the Commission should have determined whether new and
             different applications had been “resubmitted” by Morrisville and
             accepted by Vermont ANR in resetting the multiple one-year periods.

      The Morrisville rehearing request included the December 18, 2020

memorandum from Mr. Perry refuting the Commission’s determination that (1) there

was no functional agreement between Vermont ANR and Morrisville; and (2) that

the additional time afforded by the resets was for the unilateral benefit of Morrisville.

JA __. The memorandum was affirmed: “I make this statement with the knowledge

that Title 18, U.S.C. 1001 makes it a crime for any person knowingly and willingly

to make to any Agency or Department of the United States any false, fictitious, or

fraudulent statements as to any matter within its jurisdiction.” December Perry


                                              29
memorandum, JA __. The December Perry Memorandum, attached to the Rehearing

Request, included the same seven attachments that were provided in the July Perry

Memorandum filed on July 27, 2020. JA __.

      The Petitioner’s Request for Rehearing was denied by operation of law on

January 21, 2021. JA__. Morrisville filed a timely Petition for Review with this court

on January 25, 2021. JA__.

      On February 24, 2021, the Commission issued an Order Addressing

Arguments Raised on Rehearing. JA__. On the question of the applicability of

Hoopa Valley to these proceedings, the Commission concluded:

      [T]he court in Hoopa Valley considered the motivations of the licensee
      and especially of the certifying agencies, as indicated by their
      communications and conduct, as material facts bearing on the question
      whether the states waived their section 401 authority. Accordingly, in
      the Declaratory Order, the Commission appropriately considered
      similar types of evidence regarding Morrisville and Vermont ANR,
      such as the contents of email correspondence, in determining that no
      waiver occurred.

      Rehearing Order, JA__ (internal footnotes omitted, emphasis added).

      With regard to the conduct of Vermont ANR, the Commission concluded

that the “mere acceptance of Morrisville’s requests to withdraw and refile is not

evidence of a functional agreement between the parties with the motivation to

restart the one-year clock.” JA__ (footnote omitted). This might have been true if

all that Vermont ANR did was to accept Morrisville’s withdrawals and

                                             30
reapplications. However, as discussed herein, this is clearly not all that Vermont

ANR did (and did not) do.

      With regard to the question of whether Vermont ANR’s conduct resulted in

a waiver of its §401(a)(1) authority, the Commission concluded that “Vermont

ANR’s conduct does not justify a conclusion of waiver. … [T]here must be

evidence of ‘deliberate … idleness’ [Hoopa Valley] by the state to defy the

requirement of section 401 of the CWA that the state act within a reasonable

period of time.” JA__.

      With regard to the question of whether Morrisville acted unilaterally, the

Commission did not accept Morrisville’s contention that there was a functional

agreement between Morrisville and Vermont ANR: “We continue to find that

‘nothing in the record leads us to conclude that Morrisville’s withdrawal and

resubmittal was made at the behest of the state certifying agency to delay a

certification decision.’” JA__.

      Finally, with regard to the significance of whether the resubmitted

applications were materially different from the applications that had been

withdrawn, the Commission determined that “this alone is not dispositive in

determining whether there is waiver.” JA__. The Commission concluded: “We

continue to find that if an applicant voluntarily delayed the issuance of a water

quality certificate by withdrawing and refiling its application, absent an agreement
                                            31
with the state, then finding waiver would not be warranted, even if there were not a

new application.” JA__.

      The merits of the Perry memorandums filed on July 27, 2020 (JA __.), and ,

December 18, 2020, though affirmed, were ignored by the Commission.




                                            32
                       SUMMARY OF THE ARGUMENT

      The record before the Commission unequivocally supports by substantial

evidence that Morrisville did not act unilaterally and solely for its own benefit.

Vermont ANR did more than suggest or aide Morrisville in resting the one-year

period twice; it negotiated agreement to several certificate conditions, and it

threatened Morrisville with the possibility of harsher conditions. Most of all,

Vermont ANR needed more time to adhere to its own procedures for the noticing

and issuance of a draft certificate, convening a public meeting (hearing), evaluating

comments, etc. before issuing a determination on the merits of the application, i.e.

taking action in accordance with Section 401(a)(1) by issuing a certificate, denying

a certificate, or waiving its certification authority. The pressure applied to

Morrisville from Vermont ANR to rescind and reapply was, in part, an attempt by

the agency to extend their time for review and certification. This capricious

reasoning was not disclosed to the applicant.

      Under §401(a)(1), it is the responsibility of the certifying agency to act on an

application within one year by either granting certification (with or without

conditions), denying certification (with or without prejudice), or waiving its

certification authority. When a certifying agency fails to act on an application within

one year, waiver occurs by operation of law. The Commission must then declare the

waiver and allow the licensing process to proceed.

                                             33
        Contrary to the Commission’s rulings, Vermont ANR waived its certification

authority by failing to act within one year of receiving the Petitioner’s certification

application. The Commission’s conclusions to the contrary are both factually and

legally incorrect.

        The Commission’s focus on motives, whether those of an applicant and/or a

certification agency, misses the mark and frustrates Congressional intent to avoid

unreasonable delays to the licensing process due to the certification process. If

motive is relevant, then that of Vermont ANR needs equal consideration.

        Consequently, the decision of the Commission should be set aside, and this

proceeding remanded to the Commission with direction to enter an Order concluding

that Vermont ANR waived its CWA certification authority by failing to act within a

reasonable period of time not to exceed one year after receiving the Petitioner’s

certification application.


                                     ARGUMENT

   I.        The Commission’s Waiver Determination Violated §401(a)(1) Of The
             CWA


        A.     The Commission’s Waiver Determination Violated The Plain
               Language Of §401(a)(1)

        The intent of Congress to avoid delays is clear: “If the State … fails or refuses

to act on a request for certification, within a reasonable period of time (which shall


                                               34
not exceed one year) after receipt of such request, the certification requirements of

this subsection shall be waived with respect to such Federal application.” 33 U.S.C.

§1341(a)(1) (emphasis added). An established rule of statutory construction holds

that deadlines contained in a statute are to be strictly construed. This rule was applied

in New York II where the Commission concluded that a state denial of certification

“came too late because, in violation of Section 401, it occurred more than one year

after the DEC received National Fuel’s application.” 991 F.3d at 442 The Second

Circuit Court of Appeals affirmed:

      These orders determined that the DEC waived its water quality
      certification authority under Section 401 of the Clean Water Act by
      failing to act within one year of receiving a certification request. … We
      conclude that Section 401‘s one-year time limit may not be extended
      by the type of agreement between a certifying agency and an applicant
      used here and, therefore, FERC properly concluded that the DEC
      waived its certification authority.

      991 F.3d at 442 (emphasis added).

The Commission’s orders violate the clear mandate of section 401 .


      B.     The Commission’s Interpretation of §401(a)(1) Is Inconsistent With
             The CWA’s Purpose And Legislative History

      The Commission’s Declaratory Order misinterprets the Clean Water Act,

specifically §401(a)(1) by its failure to adhere to the one-year limitation upon state

review of a certification application – action upon a request shall not exceed one

year after receipt of a request.

                                              35
       The intent of Congress is stated unequivocally: State agencies reviewing

water quality certification requests have a maximum of one year following receipt

of a request for certification to act on the request. The Commission cannot change

this requirement as the “reasonable period of time” is set by statute. Upon receipt of

a request for water quality certification, a state certifying authority has three options:

(i) issue the certification (with or without conditions), (ii) deny the certification (with

or without prejudice) or (iii) waive its certification authority. If an agency does

nothing within a reasonable period of time not to exceed one year, the statute is

explicit and clear – a waiver has occurred. Irrespective of what action an agency

intends, it must be completed within one year following receipt of a request for water

quality certification. If not, state authority to issue such a certification is waived.

That is precisely the situation that Morrisville has confronted.

       The Commission’s Orders addressing motive of an applicant, whether acting

unilaterally or in concert with a certifying agency, is an interpretation at odds with

the CWA’s requirement that a certifying agency must act within a reasonable period

of time not to exceed one year. The focus should be upon the actions of certifying

agency, which is obligated to act under Section 401(a)(1). Exactly, the course

followed by the Commission in a February 15, 2024 order addressing waiver by a

certifying agency, wherein the Commission held that “Speculation regarding motive

is immaterial to the Commission’s factual analysis of the California Board’s actions

                                               36
to determine whether it actually waived its water certification authority.” Pacific

Gas and Electric Company and Nevada Irrigation District, Order Addressing

Arguments Raised On Rehearing And Addressing Supplemental Petition For

Declaratory Order On Waiver Of Water Quality Certification, 186 FERC 61,121 at

P 24 (2024)(emphasis added).

II.   The Commission’s Findings Are Unsupported By Substantial Evidence


      A.     The Commission Erred When It Found That The Village Of
             Morrisville Acted Unilaterally In Withdrawing And Resubmitting Its
             Water Quality Certification Application

      The Commission determined that “Morrisville acted unilaterally and in its

own interest, and nothing in the record leads us to conclude that Morrisville’s

withdrawal and resubmittal was made at the behest of the state certifying agency to

delay.”

      Contrary to the Commission’s Orders, there is substantial evidence that

multiple political actors throughout Vermont state government were actively

complicit in the withdrawal/resubmission reset(s) scheme. For Vermont, the gamut

ran from Vermont ANR’s Deputy Secretary and General Counsel to the Governor’s

Chief of Staff, July and December Perry Memorandums, JA __ and JA __. The July

and December 2020 Perry memorandums, both affirmed under penalty of law,

document that the initial suggestion for a reset of the one-year period came from Liz

Miller (Governor Peter Shumlin’s Chief of Staff). Ms. Miller’s suggestion was
                                            37
related to Morrisville by Shap Smith, a Representative from Morrisville to the

Vermont State House of Representatives. JA __ and JA __.

      Implementation of Ms. Miller’s suggestion required close cooperation

between Morrisville and Vermont ANR, resulting in the November 7, 2014

“application” (JA _) being received, processed for technical completeness, etc.; and

acknowledged by Vermont ANR’s letter of the same date (JA __), which was filed

by Vermont ANR with the Commission (JA __) though Morrisville should have

informed the Commission of the reset consistent with Commission regulations

regarding dismissal of certificate requests and/or the filing of request See, 18 C.F.R.

§5.23(b)(1)(ii).


      B.     The Commission Erred When It Found That Vermont ANR Was Not
             Complicit In The Withdraw-And-Resubmit Scheme

      The Commission noted that “[i]n prior cases where we have found that the

state agency functionally agreed to a withdrawal and refiling scheme, the state

agency either requested or directed it with the motivation to restart the one-year

clock.” JA __, (Declaratory Order, P 21, footnote omitted). This is precisely what

occurred. The Governor’s Chief of Staff and a member of the Vermont House of

Representatives as well as Vermont ANR staff were all complicit in the

withdrawal/resubmission scheme (Perry Memorandums JA __ and JA __.




                                             38
      The record supports that the Vermont Deputy Director and the Governor’s

Chief of Staff wanted additional time to resolve issues, studies, etc. and could not do

so before the initial and second one-year periods would have expired on January 30,

2015, and November 7, 2015, respectively. Perry July and December

Memorandums, JA __ and JA __; see, also JA __, Vermont ANR July 29, 2014

discussing “flows and water management plan”; JA __, Vermont ANR September

23, 2014 email discussing arrangements for an October 2, 2014 meeting “to discuss

bypass proposals”; JA __, Morrisville November 7, 2014 reset letter: “To

accommodate [Vermont ANR] review of Morrisville’s various proposals, including

its recently submitted phase-in proposal, and in consideration of other factors that

have arisen in discussions with the [Vermont ANR] over the course of the past year,

Morrisville hereby withdraws its January 30, 2014, application and simultaneously

reapplies for Section 401 water quality certification in the FERC relicense for project

No 2629” (emphasis added).

      Vermont ANR not only agreed to a withdrawal and refiling scheme, but it also

initiated it; and it needed more time in order to complete the state’s water quality

certification process. This process was not completed until 2016 with the circulation

of a draft certificate (the only one issued), issuance of the requisite public notice (the

only one issued), the convening of the only public comment period that closed in

July 2016, and finally issuance of the August 16, 2016 certificate.

                                               39
      The Commission did not consider why Vermont ANR sought or even needed

“to restart the one-year clock” in November 2014 and September 2015. Instead, it

myopically focused upon what it perceived to be the only motivation for the resets;

that of Morrisville; and in doing so, ignores the failure of Vermont ANR to take any

one of the requisite actions upon an application either required or permitted under

the CWA. 33 U.S.C. § 1341(a)(1).

      Moreover, contrary to the Commission’s “unilateral benefit” conclusion, both

Vermont ANR and Morrisville engaged in good faith efforts to exchange additional

studies conducted by both of them, and to consider alternatives to the Vermont

ANR’s initial terms and conditions (2013), draft water quality certificate (2016), and

public hearing (2016) through issuance of the August 9, 2016 certificate. If there

was no benefit to Vermont ANR, why did it wait? Why did it not dismiss the

application with or without prejudice? Why did it undertake its own studies (e.g.,

littoral habitat, JA __.)? Vermont ANR benefited and chose to actively participate.

Look at the timing involved in the November 7, 2014 and September 9, 2015 reset

letters and Vermont ANR’s acknowledgment letters. Clearly the state was intent on

avoiding an inadvertent waiver which, as noted above, had occurred in Central

Vermont.

      Vermont ANR controls the certification process. The January 30, 2013

certification application was declared administratively complete on February 3,

                                             40
2013. On February 28, 2013 Vermont ANR found the application to be technically

incomplete and requested additional information, and informed Morrisville that the

certification application could be denied at any time without prejudice if additional

information were not provided (within 30 days). JA __.

      At any time subsequent thereto, Vermont ANR could have acted upon the

January 30, 2014 application; particularly because Vermont ANR, on December 27,

2013, had already filed with the Commission its comments, recommendations and

preliminary terms and conditions in response to the Commission’s November 5,

2013 “Notice of application accepted for filing, soliciting motions to intervene and

protests,   ready   for   environmental     analysis,   and   soliciting   comments,

recommendations, preliminary terms and conditions.” JA __. Vermont ANR

continued to refer to those recommendations throughout the ensuing relicensing

proceeding and 401 certification process.

      In its Request for Rehearing (JA __), Morrisville raised the issue of Vermont

ANR’s lack of action on Morrisville’s certification reset applications. The

Commission did not address the issue directly, instead it focused on whether




                                             41
Morrisville had acted unilaterally. JA __. (Declaratory Order, unilateral action

assessment) and JA __. (Order Addressing Arguments Raised on Rehearing).20

             The Commission previously has determined that even absent evidence

of an express agreement, the failure of a certifying agency to act on an application

by denying certification within the one year it was afforded under the CWA prior to

and upon receipt of each withdrawal (reset), constituted a scheme of resetting the

one-year deadline.21

      In Turlock Irrigation, the concern was expressed that a certifying agency

“could extend the time for decision indefinitely by denying one certification request

after another without prejudice, thus nullifying section 401's one-year limit.” The

Commission responded stating that the courts “will find repeated denials without

prejudice, particularly those that do not rest on any substantive conclusions, to be

the equivalent of the withdrawal-and-resubmittal scheme." The argument then




20
   This was a departure from precedent as exemplified by Southern California
Edison Co., 170 FERC ¶ 61,135 (February 20, 2020), Pacific Gas and Electric Co.,
170 FERC ¶ 61,232, at P. 40 (March 19, 2020) and South Feather Water and Power
Agency, 171 FERC ¶ 61,242, reh’g denied, 172 FERC ¶ 62,101 (2020), decisions in
which the Commission found waiver when the certifying agency accepting
resubmitted applications rather than exercising the agency's authority to deny the
requests.
21
  See, e.g., Pacific Gas and Electric Company, Project No. 2105-126, Declaratory
Order on Waiver of Water Quality Certification, 172 FERC ¶61,064, PP 31 -34
(2020), reh. denied (by operation of law).
                                            42
devolved to a question of gamesmanship wherein an applicant could file a

certification request “lacking sufficient documentation [that would leave a certifying

agency] ‘the Hobson's choice of either granting certification [without necessary

information] or waiving its power to decide.”” Turlock Irrigation, 36 F.4th at 1184

(citations omitted).

      Unfortunately, not discussed by the Commission is the importance that the

Commission retains its authority to dismiss a license application or hold the licensing

proceeding in abeyance should it determine that an applicant is not proceeding

diligently with the certification process and delaying the relicensing process in doing

so. Also not discussed, is that at some point in the certification process, a certifying

agency could reject a certification with prejudice (or without) until the lacking

information is provided in a new certification request.

      The Commission must act under its licensing authority to preserve the

integrity of the processes involved under the FPA and CWA with regard to licensing

and certification. The focus of the CWA is upon the certifying agency as the sole

actor; an applicant is not required under the CWA to act; it is certainly not authorized

to circumvent the one-year period by acting unilaterally or in agreement with a

certifying agency. 33 U.S.C. § 1341(a)(1).




                                              43
       C.      The Commission Erred When It Found That There Was Not A
               Functional Agreement Between The Vermont Agency of Natural
               Resources And Morrisville To Coordinate The Withdrawal And
               Refiling Of Morrisville’s Water Quality Certification Application

       The Commission concluded that “the record does not reflect that Morrisville

had a functional agreement with Vermont ANR to coordinate withdrawal and

refiling for the purpose of providing the state more time to act on Morrisville’s

application.” JA __. (Declaratory Order). Again, the record reflects precisely the

opposite. Two days after the September 9, 2015, reset, Vermont ANR in an email

dated September 11, 2015, stated:

       As part of the withdrawal and reapplication of Morrisville’s application for a
       401-water quality certification, the Agency indicated that it would be
       advantageous to also schedule a series of technical meetings to discuss the
       Agency’s Green River recommendations that were shared with Morrisville
       on June 9 and the Green River Reservoir Littoral habitat study. Below are
       proposed dates for the three meetings with the first being in October. Please
       let me know as soon as possible which dates work for Morrisville.
       JA__.


       It is clear that there is substantial evidence supporting the conclusion that

Vermont ANR and Morrisville needed additional time to conduct their discussions

before and after the second reset of September 9, 2015. Vermont ANR continued to

process the application, circulate memos, convene meetings with Morrisville, assess

studies, etc., when it could have dismissed the application with or without prejudice

and insist that Morrisville file a revised application with the information they

allegedly lacked in the initial filing.

                                              44
      Vermont’s Section 401 Water Quality Certification Procedure (2014)

supports Morrisville’s position. Under the certification procedure, Vermont ANR

must make several specific determinations before it can process an application

through issuance of a decision on its merits, i.e., grant or deny certification. First,

Section IV requires Vermont ANR, within two weeks of receipt of an application,

to determine if an application is administratively complete (an application that has

been determined to include all of the initially required documentation necessary to

begin a technical review).

      Second, Section V requires a determination that the application is technically

complete (an application that includes information sufficient to support the creation

of a draft decision for public notice purposes). Vermont ANR staff then reviews and

analyzes the information and drafting of the certification begins.

      After these two determinations are made, Vermont ANR will issue a draft

certificate decision for public comment, issue public notice and then convene a

public hearing. Only thereafter will Vermont ANR grant or deny (with or without

prejudice) a certificate request.

      Consider that Vermont ANR’s certification procedure requires that an

applicant for a FERC license “file a request for WQC on a form provided by the

Department” (Certification Procedure III.(d)(1)), provide public notice, hold a public

meeting, and provide an opportunity for written comments (Certification Procedure
                                             45
IX). The two resets were submitted to Vermont ANR without the submission of the

requisite Certification Procedure’s form. When the resets were submitted, less than

two months remained on the one-year period(s), an insufficient amount of time to

circulate a draft 401 water quality certificate for public comment, issue public

notice,22 hold a public meeting, receive written comments, respond to them, and

issue a decision on the application’s merits.

      Vermont ANR noticed its only tentative decision and draft water quality

certification (draft 401 certificate) from January 7, 2016 through February 19, 2016;

its only public hearing was conducted on February 16, 2016; and, then it issued on

August 9, 2016 a written response to public comments and issued the 401 certificate,

one month before the third one-year period would have expired. In all, eight months

lapsed from issuance of the requisite public notice through issuance of a certificate.

When the November 7, 2014 reset occurred less than three months remained on the

first one-year period and when the September 9, 2015 reset occurred less than two

months remained. Vermont ANR needed the resets in order to avoid a waiver of

Section 401(a)(1).




22
  The public notice and hearing requirements are contained in Section 13.11
Vermont Water Pollution Control Permit Regulations dated February 26, 1974. JA__
A minimum of 30 days is required for public comment after publication of the Public
Notice.
                                                46
      With regard to the two “resets,” Vermont ANR was able to make the

prerequisite determinations in less than a day. With regard to the November 7, 2014

reset, the Vermont ANR’s November 7, 2024 letter to the Commission

acknowledging “that Morrisville Water and Light is withdrawing its application for

a water quality certification” was sent at 2:16 pm on the same day that Vermont

ANR received Morrisville’s reapplication. The same series of events were repeated

regarding the September 9, 2015 reset, when Vermont ANR’s letter to the

Commission was sent at 4:01 pm on the same day that Vermont ANR received

Morrisville’s reapplication. JA __, JA __, JA __, and JA __.


      Vermont ANR is a large state agency, whose own regulations governing the

certification process require reviews among its own departments and with other state

agencies. How could it have acted so quickly and decisively in a matter of hours

with regard to each reset? Practice and repetition are not the sole answer. The answer

is that (1) the reset applications were unchanged and (2) that withdrawing and

resubmitting the applications was coordinated with Vermont ANR because both

sides benefited therefrom.

      Furthermore, Vermont ANR continued to work on its own studies of the

Green River Reservoir drawdown well into December 2015. Vermont ANR did not

issue a draft certificate for public comment until January 7, 2016, convened a public



                                             47
hearing on February 16, 2016, and held the public record open until April 29, 2016.

Rehearing Request, JA __ and JA __.

       The Perry memorandums of July 24, 2020, and December 20, 2020 (JA __

and JA __) unequivocally support, by substantial evidence, a finding that Morrisville

was not acting alone. Morrisville’s motive in participating with Vermont ANR in

the withdraw and resubmit schemes as a means to extend Vermont ANR’s time to

act is irrelevant.23 The relevant and requisite focus required by the CWA is whether

Vermont ANR acted (or did not act) on the application within a reasonable period

of time. Vermont ANR could have acted on Morrisville’s applications at any time.

Morrisville did not act unilaterally; Vermont ANR was complicit regardless of who

initiated the resets.


       D.     The Commission Erred In Its Determination That It Was Not
              Necessary To Determine Whether The Water Quality Certification
              Applications As Withdrawn And Resubmitted Differed

       The Commission concluded that “Morrisville by its own initiative withdrew

and refiled the applications to obtain more favorable conditions and give itself more



23
   Attachment 1 to the July and December Perry Memorandums (JA __- and JA __)
is the following statement from Mr. Perry to a college regarding the desirability of a
reset:
         Seems to me that doing this would help [Vermont] ANR by buying the
        agency more time to sort out its failure to follow its own procedures
        internally before the 1-year deadline for waiving a 401 crops up in January
        [2015]. (emphasis added).
                                             48
time to consider various studies and alternatives, so we need not consider the extent

to which the various applications differed.” Declaratory Order, JA__. The

Commission’s rationale sidesteps the issue of Vermont ANR’s own efforts,

especially before and during the two reset periods, to reach a consensus with

Morrisville regarding conditions for inclusion in a water quality certificate. Request

for Rehearing, JA __ - __. Moreover, the Commission should not have sidestepped

the issue of whether the resubmitted application was materially different to warrant

a finding that the reset applications were new certification requests standing on their

own merits – despite being resubmitted without the requisite agency application

forms. It declined to do so, because a finding that the applications were not different

would have highlighted its failure to focus upon Vermont ANR’s failure to act.

      Morrisville did not withdraw and refile certification requests “by its own

initiative.” Morrisville was encouraged to do so, including being threatened with an

adverse outcome if its certification request was not withdrawn and resubmitted. See

Perry memorandum dated July 24, 2020 (JA __) and Perry memorandum dated

December 18, 2020 (JA __).

      In order to determine whether the withdrawal and resubmittal of Morrisville’s

applications was a ruse to avoid the one-year limitation period or actually reflected

substantive changes in the project, the Commission should have considered the

extent to which the various applications differed. The extent to which changes in a

                                             49
project were reflected in resubmitted applications is a critical factor to be addressed

by the Commission when determining if a withdrawal and resubmission scheme was

intended to circumvent the one-year limitation period of §401(a)(1). Instead, the

Commission refused to do so by focusing upon Morrisville’s desire to avoid onerous

terms and condition that would interfere with its responsibilities as a municipal

electric utility to provide to its ratepayers reliable and low-cost service; but, in doing

so failed to assess Vermont ANR’s own motives and its need for the additional time

afforded by each reset just to adhere to its own procedure for processing a

certification request, e.g., issuance of a draft certificate, public notice soliciting

comments, responses to comment and finally action upon the application – grant,

deny or waive consistent with Section 401(a)(1). 33 U.S.C. §1341(a)(1).

      It strikes a discordant note for the Commission on one hand to declare that a

certifying agency’s motive or excuse for not acting upon an application is irrelevant

and then use an applicant’s possible motive for engaging in multiple rests of the one-

year period as justification for not addressing the Vermont ANR’s failure to act

within a reasonable period. If the Commission had made the requisite inquiry into

whether the applications were substantially the same, they would have found them

to be so which would have led to the conclusion that the one-year period had been

circumvented.



                                               50
      In contrast, when a certifying agency dismisses an application with prejudice,

an applicant cannot simply turn around and resubmit the same application. The

proposed project has to be altered, deficient information provided, etc., changing the

application sufficiently so the certify agency may justify its acceptance and

subsequent processing. This did not occur with the November 7, 2014 or the

September 9, 2015 resubmitted applications.




                                             51
                                   CONCLUSION

      A critical issue throughout these proceedings has been the relationship

between Morrisville and Vermont ANR. While this may seem to be a self-evident

statement, there is one aspect that colors the relationship: Vermont ANR has

extensive experience and expertise regarding every issue related to hydropower

licensing under the Federal Power Act and more so with the issuance of water quality

certifications under the Clean Water Act. Morrisville, with a single hydroelectric

project, has had little exposure to the statutory and regulatory requirements for

relicensing under the FPA and CWA.

      Vermont ANR’s conduct should be the sole analytical fulcrum. Vermont ANR

should have denied the Morrisville application(s) without prejudice subject to future

refiling after the completion of studies or the provisions of additional information,

discussions, etc. See, e.g., September 11, 2015, email from Vermont ANR providing

follow up meetings two days after the September 9, 2015 reset. JA __.

      Vermont ANR should have acted on the application(s) as required by the

CWA. 33 U.S.C. §1341(a)(1). Vermont ANR should not have participated at any

level in a withdraw-and-resubmit scheme; even if all it did was to inform or assist

Morrisville in the consideration of resetting the one-year period.

      But Vermont ANR did more. It needed more time to follow its processes

before it could act upon a certification application. It negotiated the inclusion of two

                                              52
certificate conditions as part of the second reset. It assumed the responsibilities of

Morrisville as a license applicant to inform the Commission of the resets with its

acknowledgement letters of November 7, 2014 and September 9, 2015. JA __ and

JA __. While there is much that Vermont ANR could have done to achieve the goals

of both the Federal Power Act and the Clean Water Act to process license and

certification applications in a timely manner, it did not act upon the application with

a reasonable period of time not to exceed one year.

      The Commission’s assessment of Morrisville’s motivation is not relevant to

the inquiry of whether Vermont ANR acted within a reasonable period of time. The

suggestion that a certification applicant can act unilaterally strains credulity and is

disingenuous. The record clearly supports the opposite conclusion:

      (1)    Vermont ANR’s general counsel threatened Morrisville (Perry
             December and July Memorandums, JA __ and JA __.
      (2)    Vermont ANR actively participated by submitting Vermont ANR’s
             acknowledgment letters to the Commission within hours of their
             receipt. JA __ and JA __.
      (3)    Vermont ANR needed more time to complete its own administrative
             process before issuing a certificate, and it was Vermont ANR that
             accepted and continued to process the application when it could have
             dismissed it with or without prejudice. JA __.


      The Commission and Vermont ANR acquiesced to the resets; a failure in

exercising their respective authorities under the FPA and the CWA to manage the


                                             53
certification and relicensing proceedings by denying the certification application

and/or staying or dismissing the license application.

      The Commission’s Declaratory Order on Waiver of Water Quality

Certification in Village of Morrisville, 173 FERC ¶61,156, (November 19, 2020) is

factually and legally incorrect. The Declaratory Order should be vacated and

remanded to the Commission with instructions to enter an Order finding that

Vermont ANR had waived its CWA §401(a)(1) certification authority to review

Morrisville’s Water Quality Certification application.

      The Commission's conclusion that Morrisville withdrew and refiled

unilaterally for its own benefit ignores the unambiguous evidence of coordination

with and pressure exerted by Vermont ANR. The Commission also erred in finding

that the lack of material differences between the applications was irrelevant. Where,

as here, the same application is withdrawn and refiled with no substantive changes,

it indicates an attempt to circumvent the statutory deadline, not a legitimate reason

for restarting the one-year clock.

      The Commission’s Declaratory Order puts asunder the Congressional

mandate, and the public interest served thereby, that requires a certification agency

to act upon a certification request within a one-year period; a period that is to be

inviolate.



                                            54
DATED: March 18, 2024   Respectfully submitted,

                        /s/ Paul V. Nolan
                        Paul V. Nolan
                        5515 17th Street North
                        Arlington, Virginia 22205-2722
                        pvnpvndiver@gmail.com
                        703-587-5896

                        Carolyn Elefant
                        LAW OFFICES OF CAROLYN ELEFANT
                        1440 G Street N.W., Eighth Floor
                        Washington D.C. 20005
                        202-297-6100
                        carolyn@carolynelefant.com




                                55
                    CERTIFICATE OF COMPLIANCE

1.   This document complies with this Court’s type-volume limitation because,

     excluding the parts of the document exempted by Fed. R. App. P. 32(f) and

     Circuit Rule 32(e)(1), this document contains 11,695 words.

2.   This document complies with the typeface requirements of Fed. R. App. P.

     32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6) because

     this document has been prepared in a proportionally spaced typeface using

     Microsoft Word 365 in 14 point Times New Roman.


 DATED: March 18, 2024           Respectfully submitted,



                                 /s/ Paul V. Nolan
                                 Paul V. Nolan, Esq.
                                 5515 North 17th Street
                                 Arlington, VA 22205-2722
                                 703-534-5509
                                 pvnpvndiver@gmail.com




                                          56
                          CERTIFICATE OF SERVICE

I certify that on March 18, 2024 I caused to be served a copy of the Brief of

Petitioner, Village of Morrisville, Vermont, on Robert Solomon, Solicitor for the

Federal Energy Regulatory Commission, 888 First Street, N.E. Washington D.C.

20426, and all of the parties on the official FERC service list via email.


 DATED: March 18, 2024

            Respectfully submitted,



            /s/ Paul V. Nolan
            Paul V. Nolan
            5515 North 17th Street
            Arlington, VA 22205-2722
            703-534-5509
            pvnpvndiver@gmail.com




                                             57
ADDENDUM
                           ADDENDUM TABLE OF CONTENTS
                                                                                                       Page
Vermont Agency of Natural Resources, Department of Environmental
     Conservation, Section 401 Water Quality Certification Practice
     (2014)(“Procedure Manual”) ............................................................... ADD1
Pertinent portion of Section 13.11 of Vermont Water Pollution Control
      Permit Regulations ............................................................................... ADD26




810158_tst_ind add                                    i
              G:\COMP\WATER2\FEDERAL WATER POLLUTION CONTROL ACT.XML




                                                           Federal Water Pollution Control Act
                                                              [Chapter 758 of the 80th Congress]
                                                                       [33 U.S.C. 1251 et seq.]
                                           [As Amended Through P.L. 116–337, Enacted January 13, 2021]
                                      øCurrency: This publication is a compilation of the text of Chapter 758 of the 80th
                                        Congress. It was last amended by the public law listed in the As Amended
                                        Through note above and below at the bottom of each page of the pdf version and
                                        reflects current law through the date of the enactment of the public law listed at
                                        https://www.govinfo.gov/app/collection/comps/¿

                                      øNote: While this publication does not represent an official version of any Federal
                                        statute, substantial efforts have been made to ensure the accuracy of its contents.
                                        The official version of Federal law is found in the United States Statutes at Large
                                        and in the United States Code. The legal effect to be given to the Statutes at
                                        Large and the United States Code is established by statute (1 U.S.C. 112, 204).¿

                                      AN ACT To provide for water pollution control activities in the Public Health Serv-
                                       ice of the Federal Security Agency and in the Federal Works Agency, and for
                                       other purposes.

                                          Be it enacted by the Senate and House of Representatives of the
                                      United States of America in Congress assembled,
                                                  TITLE I—RESEARCH AND RELATED PROGRAMS
                                                              DECLARATION OF GOALS AND POLICY

                                          SEC. 101. (a) The objective of this Act is to restore and main-
                                      tain the chemical, physical, and biological integrity of the Nation’s
                                      waters. In order to achieve this objective it is hereby declared that,
                                      consistent with the provisions of this Act—
                                               (1) it is the national goal that the discharge of pollutants
                                          into the navigable waters be eliminated by 1985;
                                               (2) it is the national goal that wherever attainable, an in-
                                          terim goal of water quality which provides for the protection
                                          and propagation of fish, shellfish, and wildlife and provides for
                                          recreation in and on the water be achieved by July 1, 1983;
                                               (3) it is the national policy that the discharge of toxic pol-
                                          lutants in toxic amounts be prohibited;
                                               (4) it is the national policy that Federal financial assist-
                                          ance be provided to construct publicly owned waste treatment
                                          works;
                                               (5) it is the national policy that areawide treatment man-
                                          agement planning processes be developed and implemented to
                                          assure adequate control of sources of pollutants in each State;
                                               (6) it is the national policy that a major research and dem-
                                          onstration effort be made to develop technology necessary to
                                              1
              March 9, 2021                                                          As Amended Through P.L. 116-337, Enacted January 13, 2021




VerDate Mar 15 2010   09:11 Mar 09, 2021   Jkt 000000   PO 00000   Frm 00001
                                                                                   ADD1
                                                                               Fmt 9001
                                                                                     Sfmt 9001 G:\COMP\WATER2\FWPCA.BEL HOLC
              G:\COMP\WATER2\FEDERAL WATER POLLUTION CONTROL ACT.XML


                                      247                       FEDERAL WATER POLLUTION CONTROL ACT                      Sec. 401

                                                pollutant loadings within estuarine zones into a set of
                                                probable effects on such zones;
                                                     (C) a comprehensive water quality sampling program
                                                for the continuous monitoring of nutrients, chlorine, acid
                                                precipitation dissolved oxygen, and potentially toxic pollut-
                                                ants (including organic chemicals and metals) in estuarine
                                                zones, after consultation with interested State, local, inter-
                                                state, or international agencies and review and analysis of
                                                all environmental sampling data presently collected from
                                                estuarine zones; and
                                                     (D) a program of research to identify the movements
                                                of nutrients, sediments and pollutants through estuarine
                                                zones and the impact of nutrients, sediments, and pollut-
                                                ants on water quality, the ecosystem, and designated or
                                                potential uses of the estuarine zones.
                                                (2) REPORTS.—The Administrator, in cooperation with the
                                           Administrator of the National Oceanic and Atmospheric Ad-
                                           ministration, shall submit to the Congress no less often than
                                           biennially a comprehensive report on the activities authorized
                                           under this subsection including—
                                                     (A) a listing of priority monitoring and research needs;
                                                     (B) an assessment of the state and health of the Na-
                                                tion’s estuarine zones, to the extent evaluated under this
                                                subsection;
                                                     (C) a discussion of pollution problems and trends in
                                                pollutant concentrations with a direct or indirect effect on
                                                water quality, the ecosystem, and designated or potential
                                                uses of each estuarine zone, to the extent evaluated under
                                                this subsection; and
                                                     (D) an evaluation of pollution abatement activities and
                                                management measures so far implemented to determine
                                                the degree of improvement toward the objectives expressed
                                                in subsection (b)(4) of this section.
                                           (k) DEFINITIONS.—For purposes of this section, the terms ‘‘estu-
                                      ary’’ and ‘‘estuarine zone’’ have the meanings such terms have in
                                      section 104(n)(4) of this Act, except that the term ‘‘estuarine zone’’
                                      shall also include associated aquatic ecosystems and those portions
                                      of tributaries draining into the estuary up to the historic height of
                                      migration of anadromous fish or the historic head of tidal influence,
                                      whichever is higher.
                                           ø33 U.S.C. 1330¿

                                                             TITLE IV—PERMITS AND LICENSES
                                                                                CERTIFICATION

                                          SEC. 401. (a)(1) Any applicant for a Federal license or permit
                                      to conduct any activity including, but not limited to, the construc-
                                      tion or operation of facilities, which may result in any discharge
                                      into the navigable waters, shall provide the licensing or permitting
                                      agency a certification from the State in which the discharge origi-
                                      nates or will originate, or, if appropriate, from the interstate water
                                      pollution control agency having jurisdiction over the navigable
                                      waters at the point where the discharge originates or will originate,
              March 9, 2021                                                           As Amended Through P.L. 116-337, Enacted January 13, 2021




VerDate Mar 15 2010   09:11 Mar 09, 2021    Jkt 000000   PO 00000   Frm 00247
                                                                                    ADD2
                                                                                Fmt 9001
                                                                                      Sfmt 9001 G:\COMP\WATER2\FWPCA.BEL HOLC
              G:\COMP\WATER2\FEDERAL WATER POLLUTION CONTROL ACT.XML


                                      Sec. 401                 FEDERAL WATER POLLUTION CONTROL ACT                           248

                                      that any such discharge will comply with the applicable provisions
                                      of sections 301, 302, 303, 306, and 307 of this Act. In the case of
                                      any such activity for which there is not an applicable effluent limi-
                                      tation or other limitation under sections 301(b) and 302, and there
                                      is not an applicable standard under sections 306 and 307, the State
                                      shall so certify, except that any such certification shall not be
                                      deemed to satisfy section 511(c) of this Act. Such State or inter-
                                      state agency shall establish procedures for public notice in the case
                                      of all applications for certification by it and, to the extent it deems
                                      appropriate, procedures for public hearings in connection with spe-
                                      cific applications. In any case where a State or interstate agency
                                      has no authority to give such a certification, such certification shall
                                      be from the Administrator. If the State, interstate agency, or Ad-
                                      ministrator, as the case may be, fails or refuses to act on a request
                                      for certification, within a reasonable period of time (which shall not
                                      exceed one year) after receipt of such request, the certification re-
                                      quirements of this subsection shall be waived with respect to such
                                      Federal application. No license or permit shall be granted until the
                                      certification required by this section has been obtained or has been
                                      waived as provided in the preceding sentence. No license or permit
                                      shall be granted if certification has been denied by the State, inter-
                                      state agency, or the Administrator, as the case may be.
                                            (2) Upon receipt of such application and certification the licens-
                                      ing or permitting agency shall immediately notify the Adminis-
                                      trator of such application and certification. Whenever such a dis-
                                      charge may affect, as determined by the Administrator, the quality
                                      of the waters of any other State, the Administrator within thirty
                                      days of the date of notice of application for such Federal license or
                                      permit shall so notify such other State, the licensing or permitting
                                      agency, and the applicant. If, within sixty days after receipt of such
                                      notification, such other State determines that such discharge will
                                      affect the quality of its waters so as to violate any water quality
                                      requirement in such State, and within such sixty-day period noti-
                                      fies the Administrator and the licensing or permitting agency in
                                      writing of its objection to the issuance of such license or permit and
                                      requests a public hearing on such objection, the licensing or permit-
                                      ting agency shall hold such a hearing. The Administrator shall at
                                      such hearing submit his evaluation and recommendations with re-
                                      spect to any such objection to the licensing or permitting agency.
                                      Such agency, based upon the recommendations of such State, the
                                      Administrator, and upon any additional evidence, if any, presented
                                      to the agency at the hearing, shall condition such license or permit
                                      in such manner as may be necessary to insure compliance with ap-
                                      plicable water quality requirements. If the imposition of conditions
                                      cannot insure such compliance such agency shall not issue such li-
                                      cense or permit.
                                            (3) The certification obtained pursuant to paragraph (1) of this
                                      subsection with respect to the construction of any facility shall ful-
                                      fill the requirements of this subsection with respect to certification
                                      in connection with any other Federal license or permit required for
                                      the operation of such facility unless, after notice to the certifying
                                      State, agency, or Administrator, as the case may be, which shall be
                                      given by the Federal agency to whom application is made for such
                                      operating license or permit, the State, or if appropriate, the inter-
              March 9, 2021                                                          As Amended Through P.L. 116-337, Enacted January 13, 2021




VerDate Mar 15 2010   09:11 Mar 09, 2021   Jkt 000000   PO 00000   Frm 00248
                                                                                   ADD3
                                                                               Fmt 9001
                                                                                     Sfmt 9001 G:\COMP\WATER2\FWPCA.BEL HOLC
              G:\COMP\WATER2\FEDERAL WATER POLLUTION CONTROL ACT.XML


                                      249                      FEDERAL WATER POLLUTION CONTROL ACT                      Sec. 401

                                      state agency or the Administrator, notifies such agency within sixty
                                      days after receipt of such notice that there is no longer reasonable
                                      assurance that there will be compliance with the applicable provi-
                                      sions of sections 301, 302, 303, 306, and 307 of this Act because of
                                      changes since the construction license or permit certification was
                                      issued in (A) the construction or operation of the facility, (B) the
                                      characteristics of the waters into which such discharge is made, (C)
                                      the water quality criteria applicable to such waters or (D) applica-
                                      ble effluent limitations or other requirements. This paragraph shall
                                      be inapplicable in any case where the applicant for such operating
                                      license or permit has failed to provide the certifying State, or, if ap-
                                      propriate, the interstate agency or the Administrator, with notice
                                      of any proposed changes in the construction or operation of the fa-
                                      cility with respect to which a construction license or permit has
                                      been granted, which changes may result in violation of section 301,
                                      302, 303, 306, or 307 of this Act.
                                           (4) Prior to the initial operation of any federally licensed or
                                      permitted facility or activity which may result in any discharge
                                      into the navigable waters and with respect to which a certification
                                      has been obtained pursuant to paragraph (1) of this subsection,
                                      which facility or activity is not subject to a Federal operating li-
                                      cense or permit, the licensee or permittee shall provide an oppor-
                                      tunity for such certifying State, or, if appropriate, the interstate
                                      agency or the Administrator to review the manner in which the fa-
                                      cility or activity shall be operated or conducted for the purposes of
                                      assuring that applicable effluent limitations or other limitations or
                                      other applicable water quality requirements will not be violated.
                                      Upon notification by the certifying State, or if appropriate, the
                                      interstate agency or the Administrator that the operation of any
                                      such federally licensed or permitted facility or activity will violate
                                      applicable effluent limitations or other limitations or other water
                                      quality requirements such Federal agency may, after public hear-
                                      ing, suspend such license or permit. If such license or permit is
                                      suspended, it shall remain suspended until notification is received
                                      from the certifying State, agency, or Administrator, as the case
                                      may be, that there is reasonable assurance that such facility or ac-
                                      tivity will not violate the applicable provisions of section 301, 302,
                                      303, 306, or 307 of this Act.
                                           (5) Any Federal license or permit with respect to which a cer-
                                      tification has been obtained under paragraph (1) of this subsection
                                      may be suspended or revoked by the Federal agency issuing such
                                      license or permit upon the entering of a judgment under this Act
                                      that such facility or activity has been operated in violation of the
                                      applicable provisions of section 301, 302, 303, 306, or 307 of this
                                      Act.
                                           (6) Except with respect to a permit issued under section 402
                                      of this Act, in any case where actual construction of a facility has
                                      been lawfully commenced prior to April 3, 1970, no certification
                                      shall be required under this subsection for a license or permit
                                      issued after April 3, 1970, to operate such facility, except that any
                                      such license or permit issued without certification shall terminate
                                      April 3, 1973, unless prior to such termination date the person hav-
                                      ing such license or permit submits to the Federal agency which
              March 9, 2021                                                          As Amended Through P.L. 116-337, Enacted January 13, 2021




VerDate Mar 15 2010   09:11 Mar 09, 2021   Jkt 000000   PO 00000   Frm 00249
                                                                                   ADD4
                                                                               Fmt 9001
                                                                                     Sfmt 9001 G:\COMP\WATER2\FWPCA.BEL HOLC
              G:\COMP\WATER2\FEDERAL WATER POLLUTION CONTROL ACT.XML


                                      Sec. 402                  FEDERAL WATER POLLUTION CONTROL ACT                           250

                                      issued such license or permit a certification and otherwise meets
                                      the requirements of this section.
                                           (b) Nothing in this section shall be construed to limit the au-
                                      thority of any department or agency pursuant to any other provi-
                                      sion of law to require compliance with any applicable water quality
                                      requirements. The Administrator shall, upon the request of any
                                      Federal department or agency, or State or interstate agency, or ap-
                                      plicant, provide, for the purpose of this section, any relevant infor-
                                      mation on applicable effluent limitations, or other limitations,
                                      standards, regulations, or requirements, or water quality criteria,
                                      and shall, when requested by any such department or agency or
                                      State or interstate agency, or applicant, comment on any methods
                                      to comply with such limitations, standards, regulations, require-
                                      ments, or criteria.
                                           (c) In order to implement the provisions of this section, the
                                      Secretary of the Army, acting through the Chief of Engineers, is
                                      authorized, if he deems it to be in the public interest, to permit the
                                      use of spoil disposal areas under his jurisdiction by Federal licens-
                                      ees or permittees, and to make an appropriate charge for such use.
                                      Moneys received from such licensees or permittees shall be depos-
                                      ited in the Treasury as miscellaneous receipts.
                                           (d) Any certification provided under this section shall set forth
                                      any effluent limitations and other limitations, and monitoring re-
                                      quirements necessary to assure that any applicant for a Federal li-
                                      cense or permit will comply with any applicable effluent limitations
                                      and other limitations, under section 301 or 302 of this Act, stand-
                                      ard of performance under section 306 of this Act, or prohibition, ef-
                                      fluent standard, or pretreatment standard under section 307 of this
                                      Act, and with any other appropriate requirement of State law set
                                      forth in such certification, and shall become a condition on any
                                      Federal license or permit subject to the provisions of this section.
                                           ø33 U.S.C. 1341¿

                                                  NATIONAL POLLUTANT DISCHARGE ELIMINATION SYSTEM

                                           SEC. 402. (a)(1) Except as provided in sections 318 and 404 of
                                      this Act, the Administrator may, after opportunity for public hear-
                                      ing, issue a permit for the discharge of any pollutant, or combina-
                                      tion of pollutants, notwithstanding section 301(a), upon condition
                                      that such discharge will meet either (A) all applicable requirements
                                      under sections 301, 302, 306, 307, 308, and 403 of this Act, or (B)
                                      prior to the taking of necessary implementing actions relating to all
                                      such requirements, such conditions as the Administrator deter-
                                      mines are necessary to carry out the provisions of this Act.
                                           (2) The Administrator shall prescribe conditions for such per-
                                      mits to assure compliance with the requirements of paragraph (1)
                                      of this subsection, including conditions on data and information col-
                                      lection, reporting, and such other requirements as he deems appro-
                                      priate.
                                           (3) The permit program of the Administrator under paragraph
                                      (1) of this subsection, and permits issued thereunder, shall be sub-
                                      ject to the same terms, conditions, and requirements as apply to a
                                      State permit program and permits issued thereunder under sub-
                                      section (b) of this section.
              March 9, 2021                                                           As Amended Through P.L. 116-337, Enacted January 13, 2021




VerDate Mar 15 2010   09:11 Mar 09, 2021    Jkt 000000   PO 00000   Frm 00250
                                                                                    ADD5
                                                                                Fmt 9001
                                                                                      Sfmt 9001 G:\COMP\WATER2\FWPCA.BEL HOLC
                           Vermont Agency of Natural Resources
                         Department of Environmental Conservation
                      Section 401 Water Quality Certification Practice
I. Purpose
Effective October 22, 2014, this Practice supersedes the “Section 401 Water Quality
Certification Procedure” dated April 2, 2012.
It is the goal of this Practice to ensure a consistent application review and internal Agency of
Natural Resources (Agency) coordination process with respect to Clean Water Act Section 401
water quality certification ( W Q C ) decisions. The public notice and public hearing
requirements relating to WQCs a r e c o n t a i n e d in Section 13.11 of the Department’s
Vermont Water Pollution Control Permit Regulations dated February 26, 1974 (VWPCPR).

II. Pre-Application Scoping Meeting with Project Proponent
The Department of Environmental Conservation (Department) strongly encourages that each
applicant for a WQC attend a pre-application scoping meeting with representatives from the
Agency’s Departments. The Watershed Management Division’s 401 Program Coordinator (401
Program Coordinator or Coordinator) will be responsible for working with applicants to schedule
pre-application meetings. The Coordinator will also coordinate with division and department
management to ensure that appropriate staff are included in such meetings.
III. Application
   (a) Section 13.11(b) of the VWPCPR states that a Section 401 WQC application shall
       contain sufficient information including “such additional information deemed necessary” to
       evaluate the application. The following subsections provide guidance on what the
       Department may require from a 401 WQC applicant.

   (b) Section 401 WQC A ssociated with a Federally-Issued General Permit. In certain
       cases a federal agency may issue a general permit for which the Agency may grant general
       certification or waiver for certain categories of discharges or activities.

   (c) Application for Individual 401 Certifications not in Connection with a FERC
       License or Exemption. An applicant for a federal license or permit will file a request for a
       WQC on a form provided by the Department, which is available at the Department’s central
       offices in Montpelier or on the 401 Water Quality Certification website: dec.vermont.gov/
       business-support/water-quality-certification-section-401.

   (d) (1) Application for Certification in Connection with a FERC L icense or
       Exemption. An applicant for a FERC license or exemption will file a request for a
       WQC on a form provided by the Department, which is available at the Department’s central
       offices in Montpelier or on the Flow Protection - Hydroelectric Power website:
       dec.vermont.gov/rivers/streamflow-protection/hydroelectric. In addition to information on
       the application form, the project proponent will provide additional supporting information as
       follows:

                                                1

                                            ADD6
          (A) FERC licensed projects using the Traditional Licensing Process (TLP):
              license application and responses to any FERC additional information requests.

          (B) FERC licensed projects using the Integrated Licensing Process (ILP): license
              application.

          (C) FERC exempt projects: exemption application and the results of any
              environmental studies completed as part of the FERC process.
      (2) For WQCs requested in connection with a FERC license or exemption, the timing of
          the application should be coordinated with the applicable FERC process.
          (A) FERC licensed projects using the TLP. Applicants that are using the TLP (18
              CFR § 4.30 et seq.) may file a certification application following issuance of a
              Notice of Ready for Environmental Analysis (Notice indicates that FERC is ready
              to prepare the NEPA document) by FERC.

          (B) FERC licensed projects using the ILP. Applicants that are using the ILP (18
              CFR § 5.1 et seq.) may file a certification application as early as the date the
              FERC license application is filed.

          (C) FERC exempt projects. Applicants may only file a certification application after
              results from all studies necessary to support the application are available and a
              complete project proposal has been developed.

   (e) Additional Materials Required. Prior to making a decision on an application for a
       WQC, the Department may require that the applicant:

      (1) perform various studies or environmental quality tests including chemical analyses of
          water, sediment, or fill material; biological assessments; and assessments of habitat
          suitability;

      (2) pursuant to 3 V.S.A. § 2809, pay the cost of research, scientific, programmatic, or
          engineering expertise or services that the Department does not have when such
          expertise or services are required for the processing of the WQC application; and

      (3) submit additional information necessary to make its anti-degradation findings
          pursuant to Vermont's Anti-Degradation Policy and any anti-degradation procedure or
          rule in effect at the time of application.

IV. Determination of Administratively Complete Application
   (a) In General. Within two weeks of receipt of an application, the Department will review
       the application and determine whether it is administratively complete. An
       “administratively complete application” is an application that has been determined to
       include all of the initially required documentation necessary to begin a technical review


                                                2

                                            ADD7
      of the application. These documents include the correct completed application form(s)
      and supporting information, signatures, and fees.

      (1) If an application is administratively complete, the Department will issue a letter to the
          applicant indicating the date of receipt of the application and its administrative
          completeness.

      (2) If an application is not administratively complete, the Department will contact the
          applicant via phone, email, or letter, and inform the applicant of the materials needed
          to make the application administratively complete. If the requested information is not
          provided within the timeframe provided by the Department, the application may be
          denied without prejudice and the applicant may reapply at any time. The notice of
          denial will be provided via email or letter.

   (b) Coordination with Federal Agency; Decision Time Clock.

      (1) Section 401 of the federal Clean Water Act provides that a state must act on a request
          for certification within a “reasonable period of time,” which cannot exceed one year
          after receipt of the request, or the certification requirement shall be waived. Different
          federal agencies have defined in regulation what constitutes a “reasonable period of
          time” for state decision-making. However, federal regulation also gives flexibility to
          federal agencies to either shorten or lengthen the period of time for states’ decision-
          making.

      (2) To avoid an inadvertent waiver of a WQC, the 401 Program Coordinator will contact
          the involved federal agency upon receipt of a WQC application to determine the
          federal agency’s timeframe for noticing and issuing its federal license or permit. The
          401 Program Coordinator will document this timeline in writing. If more time is
          needed to make a decision, the 401 Program Coordinator will request an extension
          and confirm in writing. If the federal agency will not grant additional time, the
          Department may suggest to the applicant that it withdraw and resubmit its
          application, thereby restarting the clock, or the Department may deny the certification
          without prejudice if there is insufficient information to make a final decision and
          encourage the applicant to resubmit the application.

V. Determination of Technically Complete Application
   (a) In General. For purposes of this Procedure a “technically complete application” means
       an application that contains a material record sufficient to support the creation of a draft
       decision for public notice purposes.

   (b) Internal Agency Coordination in Determination on Technical Completeness.

      (1) The Watershed Management Division (WSMD) Director will designate a lead
          WSMD program manager or staff person for an application who, in coordination with
          the 401 Coordinator, will ensure coordination in evaluating the technical
          completeness of the application and take the lead in writing the draft WQC decision.

                                                 3

                                             ADD8
(2) The 401 Program Coordinator, in coordination with the lead WSMD manager/staff,
    will ensure coordination with other affected Agency divisions and departments as
    follows. Affected Agency divisions and departments may include the Department of
    Environmental Conservation (DEC); DEC’s Watershed Management Division
    (WSMD); the following programs within WSMD: the Lakes and Ponds Management
    and Protection Program, the Monitoring Assessment and Planning Program, the
    Rivers Program, the Stormwater Program, the Wastewater Program, and the Wetlands
    Program; and the Vermont Fish and Wildlife Department.

   (A) Upon determining that an application is administratively complete, the 401
       Program Coordinator will promptly provide written notification via email to all
       WSMD program managers, the WSMD Director and Deputy, and other affected
       Agency divisions and departments with a copy of the application.

   (B) The 401 Program Coordinator will schedule a meeting to discuss the project and
       application and discuss assigned roles for evaluating the application and drafting
       a tentative decision.

   (C) The 401 Program Coordinator will develop a single email address list for all
       Agency managers and staff involved in the review and processing of the
       application. All involved staff and managers will use this email address
       throughout the application review and decision-making process to ensure internal
       coordination.

   (D) The 401 Program Coordinator, in consultation with the lead WSMD
       manager/staff, will provide a date by which other affected divisions and
       departments must respond to the Coordinator as to whether the application is
       technically complete for their purposes and identify any additional information
       that is needed.

   (E) If the 401 Program Coordinator determines that other Agency divisions and
       departments are not able to meet the specified deadline for response, the
       Coordinator will notify the WSMD Director/Deputy. The Director/Deputy will
       work with the Coordinator, the Department Commissioner, and others as
       necessary to promptly resolve any timing issues. Any disagreement among or
       between Agency divisions and departments should be identified early and
       brought to the Secretary if it cannot be promptly resolved.

   (F) Once an application is deemed technically complete, the 401 Program
       Coordinator will notify the applicant in writing. If an application is deemed
       technically incomplete, the 401 Program Coordinator will notify the applicant in
       writing with sufficient detail to identify the information or materials necessary to
       complete the application.




                                        4

                                     ADD9
      (G) If an application is technically incomplete, at the Department’s sole discretion,
          no further processing of the application will take place until the information
          requested is received and determined to be technically complete. If the requested
          information is not provided within the timeframe provided by the Department,
          the application may be denied without prejudice and the applicant may reapply at
          any time. The Department will provide the notice of denial in writing.

      (H) The Department may at any time require an applicant to submit any additional
          information that it considers necessary to make a determination that an
          application is technically complete. The application may be denied without
          prejudice if any requested information is not provided within the timeframe
          provided by the Department.

(c) Special Provisions for Applications for Certification in Connection with a FERC
    License or Exemption.

   (1) The Department will process certain applications in connection with a FERC license
       or exemption within 120 days after a determination that an application is technically
       complete and Agency staff has had an opportunity to conduct a site visit at an
       appropriate time of year and during appropriate flow conditions. Projects qualifying
       for an expedited process are:

      (A) Run-of-river projects at existing dams (no change to extent of impoundment) for
          which the proposal provides bypass flows consistent with the default hydrologic
          standards (Vermont Water Quality Standards, Section 3-0l(C)), and the proposal
          does not impact existing or designated uses or water quality criteria;

      (B) Run-of-river projects at existing dams (no change to extent of impoundment)
          with short bypasses having the following characteristics:

               (i) very low habitat value (e.g., very steep with prominent ledges), or

               (ii) consisting solely of one or more pools with minimal flow needs to
                    provide for movement of fish and to maintain water quality and aquatic
                    habitat, and

               (iii)the project site does not have aesthetic or recreational values (e.g., for
                    some waterfalls) or provide habitat for threatened or endangered species;

      (C) Conduit projects which are physically removed from state and federal waters and
          have no impact on water quality;

      (D) Projects for which a 5 MW exemption application has been filed and accepted by
          FERC.




                                            5

                                       ADD10
VI. Scope of Review for Application Decisions
Pursuant to Section 13.11(g)(3) of the VWPCPR, a WQC must contain “a statement that there is
a reasonable assurance that the activity will be conducted in a manner that will not violate
applicable water quality standards. In making such determination, the Department will evaluate
whether an activity complies with applicable state laws and Agency permits, rules, procedures,
practices, and policies that ensure compliance with the VWQS.

VII. Coordination in Formation of Tentative Determination on WQC Application.
Prior to issuing a draft WQC determination for public comment, the 401 Program Coordinator
will ensure appropriate coordination with other affected Agency divisions and departments as
follows:
       (1) Prior to issuing a draft tentative determination for public notice, a draft will be
           provided to other affected Agency divisions and departments with a specified period
           of time to participate in drafting and providing comments.

       (2) The 401 Program Coordinator and lead WSMD program manager/staff will ensure
           that comments of other Agency divisions and departments are considered prior to the
           issuance of a tentative determination for public comment and will coordinate internal
           meetings and discussions as needed. In the case of any conflicts or disagreements
           among or between divisions and departments, the WSMD Director/Deputy will work
           with the lead Division program manager, the Commissioner, and others as necessary
           to promptly resolve any disagreements. Any disagreement among or between
           Agency divisions or departments should be identified early and brought to the
           Secretary if they cannot be promptly resolved at the department level.

       (3) If the 401 Program Coordinator determines that other Agency divisions or
           departments are not able to meet the specified deadline for comment, the WSMD
           Director/Deputy and lead WSMD program manager will work with the
           Commissioner and others to resolve any timing issues. Any disagreement among or
           between Agency divisions and departments should be identified early and brought to
           the Secretary if they cannot be promptly resolved at the department level.

VIII. Content of Certification Decision
   (a) Section 13.11(g) of the VWPCPR states the information that the Department must
       include in a WQC and grants the Department the authority to include such other
       information as the Department may determine appropriate and any conditions the
       Department deems necessary. Pursuant to 13.11(g) a WQC must contain:

       (1) The name and address of the applicant;

       (2) A statement of the record upon which the decision is based;

       (3) A statement that the Secretary has examined:


                                               6

                                           ADD11
   (A) the application made by the applicant to the Secretary for certification;

   (B) the application made to the federal licensing or permitting agency (specifically
       identifying the number or code affixed to such application) and bases his or
       her decision upon an evaluation of the information contained in such
       application which is relevant to water quality considerations; and

   (C) any other information furnished by the applicant sufficient to permit the
       Secretary to issue a WQC;

(4) A statement that there is a reasonable assurance that the activity will be conducted
    in a manner which will not violate the Vermont Water Quality Standards and
    other appropriate requirements of state law and will be in compliance with
    Sections 301, 302, 303, 306, and 307 of the federal Clean Water Act, 33 U.S.C. §
    1251 et seq., as amended;

(5) A statement of any conditions which the Secretary deems necessary or desirable
    with respect to discharge or activity;

(6) A condition vesting the Secretary with the authority to reopen and alter or amend
    the certification conditions over the life of the project when such action is
    necessary to assure compliance with the Vermont Water Quality Standards and
    other appropriate requirements of state law;

(7) A condition stating that authorized representatives from the Agency, at reasonable
    times and upon presentation of credentials, may enter upon the site where the
    activity is taking place for purposes of inspecting and determining compliance
    with certification conditions;

(8) The following statement concerning the effective date and expiration of the
    certification. The Certification will become effective on the date of issuance, and
    the conditions of the Certification will become conditions of the federal license or
    permit (33 U.S.C. § 1341(d)). If the federal authority denies a license or permit,
    the Certification becomes null and void. Otherwise, it runs for the term of the
    federal license or permit.

(9) The following statement concerning enforcement of the certification. This
    Certification is only valid for those activities that fully comply with the terms and
    conditions of the federal license of permit and this Certification. The Agency
    reserves the authority to enforce any violation of the VWQS that results from any
    activity or discharge and to enforce all other state laws applicable to such
    activities and discharges.

(10) Appeals language.



                                      7

                                  ADD12
                  (A) For renewable energy projects: If this decision relates to a renewable
                      energy plant for which a certificate of public good is required under 30
                     V.S.A. § 248, any appeal of this decision must be filed with the Vermont
                      Public Service Board pursuant to 10 V.S.A. § 8506. This section does not
                      apply to a facility that is subject to 10 V.S.A. § 1004 (dams before the
                      Federal Energy Regulatory Commission), 10 V.S.A. § 1006 (certification
                      of hydroelectric projects) or 10 V.S.A. Chapter 43 (dams). Any appeal
                      under this section must be filed with the Clerk of the Public Service Board
                      within 30 days of the date of this decision; the appellant must file with the
                      Clerk an original and six copies of its appeal. The appellant will provide
                      notice of the filing of an appeal in accordance with 10 V.S.A. §
                      8504(c)(2), and will also serve a copy of the Notice of Appeal on the
                      Vermont Department of Public Service. For further information, see the
                      Rules and General Orders of the Public Service Board, available on line at
                      www.psb.vermont.gov. The address for the Public Service Board is 112
                      State Street, Montpelier, Vermont, 05620-2701 (Tel. # 802-828-2358).

                  (B) For all other projects: Pursuant to 10 V.S.A. Chapter 220, any appeal of
                      this decision must be filed with the clerk of the Environmental Division of
                      the Superior Court within 30 days of the date of the decision. The Notice
                      of Appeal must specify the parties taking the appeal and the statutory
                      provision under which each party claims party status; must designate the
                      act or decision appealed from; must name the Environmental Division;
                      and must be signed by the appellant or the appellant’s attorney. In
                      addition, the appeal must give the address or location and description of
                      the property, project, or facility with which the appeal is concerned and the
                      name of the applicant or any permit involved in the appeal. The appellant
                      must also serve a copy of the Notice of Appeal in accordance with Rule
                      5(b)(4)(B) of the Vermont Rules for Environmental Court Proceedings.
                      For further information, see the Vermont Rules for Environmental Court
                      Proceedings, available on line at
                      www.vermontjudiciary.org. The address for the Environmental Division
                      is: 32 Cherry St.; 2nd Floor, Suite 303; Burlington, VT 05401 (Tel. # 802-
                      951-1740).

IX. Public Notice and Comment; Public Hearing; Issuance of Decision
The Department will provide public notice of and opportunity for written comments regarding
the proposed activity and the tentative determination to issue or deny certification. The public
notice will be issued in accordance with Section 13.11(c) of the VWPCPR. The Department will
also provide an opportunity for a public meeting in accordance with Sections 13.11(d), (e), and
(f) of the VWPCPR. After consideration of public comments, the Agency will make a final
decision on the application.




                                                8

                                            ADD13
                      ADOPTED C. JANUARY 17, 1974 PURSUANT TO 10 V.S.A. § 1258(6)
                                  FILED WITH SECRETARY OF STATE FEBRUARY 26, 1974



                  VERMONT WATER POLLUTION CONTROL PERMIT REGULATIONS



13.     PERMITS
      13.1   Definitions.


      As used in these regulations the following terms shall have the meanings
indicated below unless a different meaning clearly appears from the context:
        (a)      The term "Act" means Title 10, Chapter 47 of the Vermont

      Statutes Annotated, as amended.

        (b)      The term "Agency" means the Vermont Agency of Environmental
      Conservation.

        (c)      The term "Federal Act" means the Federal Water Pollution Control

      Act, as amended, 33 U.S.C. 1251 et seq.
        (d)      The term "Refuse Act" means section 13 of the River and Harbor

      Act of March 3, 1899.

        (e)      The term "EPA" means the U.S. Environmental Protection Agency.
        (f)      The term "Administrator" means the Administrator of EPA.

        (g)      The term "Regional Administrator" means the Regional
      Administrator of EPA, Region I.

        (h)      The term "National Pollutant Discharge Elimination System

      (NPDES)" means the national system for the issuance of permits under
      section 402 of the Federal Act and includes the Vermont program after it
      has been approved by the Administrator pursuant to section 402 of the
      Federal Act.
        (i)      The term "incompatible substance" means any waste being

      discharged into a publicly owned treatment works which interferes with,
      passes through without treatment, or is otherwise incompatible with such

      works or would have a substantial adverse affect on such works or on water
      quality.




                                        ADD14
13.3   Agency Processing of Completed Applications.
       a. Determination as to Type of Permit.     When an application for an
   existing discharge is found to be complete, the Secretary shall make

   determinations as to the type of permit to be issued.      If the discharge will
   neither (i) reduce the quality of the receiving waters below the
   classification established for such waters nor (ii) violate any state or
   federal laws or regulation, then the application shall be determined to be

   an application for a discharge permit under section 1263 of the Act.
   Otherwise, the application shall be determined to be an application for a

   temporary pollution permit under section 1265 of the Act.      Any such
   temporary pollution permit shall contain the additional conditions set forth
   in section 13.4(b) (3) of these regulations.

       b. Formulation of Tentative Determination and Draft Permit.

          (1)                    The Secretary shall formulate and prepare
       tentative determinations with respect to an application in advance of

       public notice of the proposed issuance or denial of a permit.     Such

       tentative determinations shall state whether the permit is a discharge
       permit or a temporary pollution permit and shall include at least the

       following:

                (a)   A proposed determination to issue or deny a permit for the
          discharge described in the application; and,
                (b)   If the determination proposed in paragraph 1 of this section

          is to issue the permit, the following additional tentative
          determinations:
                                 (i)   Proposed effluent limitations, identified
          pursuant to sections 13.4(b) and (c) for those pollutants proposed to

          be limited;




                                         -7-
                                       ADD15
                          (ii)    A proposed schedule of compliance, including
        interim dates and requirements, for meeting the proposed effluent

        limitations, identified pursuant to section 13.4(d);
                          (iii)    A proposed set of periodic pollution
        charges to be applied in the case of any temporary pollution
        permit; and

                          (iv)    A brief description of any other proposed
        special conditions (other than those required in section 13.4 (e)

        which will have a significant impact upon the discharge described
        in the application.
  (2)                     The Secretary shall organize the tentative

determinations prepared pursuant to paragraph (1) of this section into a

draft permit for the application.
c. Public Notice
  (1)                     Public notice of every complete application for a

permit shall be circulated in a manner designed to inform interested and
potentially interested persons of the proposed discharge and of the

proposed determination to issue or deny a permit for the proposed
discharge.    Procedures for a circulation of public notice shall include

at least the following:

        (a)               Notice shall be circulated within the geographical
  areas of the proposed discharge; such circulation may include any or

  all of the following:
                          (i)      Posting in the post office and public
        places of the municipality nearest the premises of the applicant
        in which the effluent source is located;




                                   -8-
                                  ADD16
                         (ii)     Posting near the entrance to the
        applicant's premises and in nearby places; and

                         (iii)    Publishing in local newspapers and
        periodicals,   or, if appropriate, in a daily newspaper of general
        circulation;
        (b)              Notice shall be mailed to any person or group upon

  request; and
        (c)              The Secretary shall add the name of any person or

  group upon request to a mailing list to receive copies of notices for
  all applications within Vermont or within a certain geographical area.
  (2)                    The Secretary shall provide a period of not less

than thirty (30) days following the date of the public notice during

which time interested persons may submit their written views on the
tentative determinations with respect to the application.      All written

comments submitted during the 30-day comment period shall be retained by
the Secretary and considered in the formulation of this final

determinations with respect to the application.    The period for comment

may be extended at the discretion of the Secretary.
  (3)                    The contents of public notice of applications for

permits shall include at least the following:
        (a)              Name, address, phone number of the Agency;

        (b)              Name and address of each applicant;

        (c)              Brief description of each applicant's activities
  or operations which result in the discharge described in the
  application (e.g., municipal waste treatment plant, steel

  manufacturing, drainage from mining activities);




                                  -9-
                                 ADD17
         (d)             Name of waterway to which each discharge is made
  and a short description of the location of each discharge on the

  waterway indicating whether such discharge is a new or an existing
  discharge;
         (e)             A statement of the tentative determination to
  issue or deny a permit for the discharge described in the application;

         (f)             A brief description of the procedures for the
  formulation of final determinations, including the 30-day comment

  period required by paragraph (c)(2) of this section and any other
  means by which interested persons may influence or comment upon those
  determinations; and

         (g)             Address and phone number of Agency premises at

  which interested persons may obtain further information, request a
  copy of the draft permit prepared pursuant to section 13.3(b), request

  a copy of the fact sheet described in section 13.3(d) and inspect any
  copy forms and related documents.

d. Fact Sheets
   (1)                   For every discharge which has a total volume of

more than 500,000 gallons on any day of the year, the Secretary shall
prepare and, following public notice, shall send, upon request to any

person a fact sheet with respect to the application described in the
public notice.    The contents of such fact sheets shall include at least

the following information:
         (a)             A sketch or detailed description of the location
   of the discharge described in the application;
         (b)             A quantitative description of the discharge

described in the application which includes at least the following:
                         (i)   The rate of frequency of the proposed

         discharge;




                                - 10 -
                               ADD18
        if the discharge is continuous, the average daily flow in gallons
        per day or million gallons per day;

                         (ii)    For thermal discharges subject to limitation
        under the Act or the Federal Act, the average summer and winter
        temperatures in degrees Fahrenheit; and
                         (iii)    The average daily discharge in pounds per

        day of any pollutants which are present in significant quantities
        or which are subject to limitations or prohibition under sections

        301, 302, 306, 307 of the Federal Act and regulations published
        thereunder;
  (2)    The tentative determinations required under section 13.3(b);

  (3)    A brief citation, including a brief identification of the uses for

which the receiving waters have been classified, of the water quality
standards and effluent standards and limitations applied to proposed

discharge; and
  (4)                    A fuller description of the procedures for the

formulation of final determinations than that given in the public notice

including:
        (i)    The 30-day comment period required by 13.3 (b) (2);

        (ii)   Procedures for requesting a public hearing and the nature
  thereof; and

        (iii) Any other procedures by which the public may participate in

  the formulation of the final determinations.
  (5) The Secretary shall add the name of any person or group upon
request to a mailing list to receive copies of fact sheets.     The Secretary

may charge a reasonable fee for copies of fact sheets, draft permits and
other documents.




                                  - 11 -
                                 ADD19
e. Notice of Other Government Agencies.
  The Secretary shall notify other appropriate Government agencies of

each complete application for a permit and shall provide such agencies an
opportunity to submit their written views and recommendations.    Procedures
for such notification shall include the following:
  (1)                  At the time of issuance of public notice pursuant

to section 13.3(c) transmission of such notice and, in cases where a fact
sheet is required to be prepared, a fact sheet to any other States whose

waters may be affected by the issuance of a permit and, upon request,
providing such States with a copy of the application and a copy of the
proposed permit prepared pursuant to section 13.3 (b).    Each affected

State shall be afforded an opportunity to submit written recommendations

to the Secretary and to the Regional Administrator which the Secretary may
incorporate into the permit if issued.    Should the Secretary fail to

incorporate any written recommendations thus received, he shall provide to
the affected State or States (and to the Regional Administrator) a written

explanation of his reasons for failing to accept any of the written

recommendations.
  (2)                  A procedure, similar to paragraph (1) of this

section, for notifying any interstate agency having water quality control
authority over waters which may be affected by the issuance of a permit.

  (3)                  At the time of issuance of public notice pursuant to

section 13.3(c), transmission of such notice and, where a fact sheet is
required to be prepared, a fact sheet to the appropriate District Engineer
of the Army Corps of Engineers of applications for discharges




                              - 12 -
                            ADD20
(other than minor discharges) into navigable waters:
          (a)      The Secretary and the Corps of Engineers may enter into

    written agreements providing for (i) notice to the District Engineer of
    minor discharges, (ii) waiver by the Corps of Engineers of its right to
    receive fact sheets with respect to classes, types, and sizes within
    any category of point sources and with respect to discharges to

    particular navigable waters or parts thereof and (iii) any procedures
    for the transmission of forms, period for comment by the Corps of

    Engineers and for objections of the Corps of Engineers.
          (b)      A written copy of any agreements between the Agency and the
    Corps of Engineers shall be made available to the public for inspection

    and copying.

    (4)         A procedure for mailing copies of the public notice (or upon
 specific request, copies of fact sheets) for application for permits to

 any other Federal, Vermont or local agency, or any affected country, upon
 request, and providing such agencies an opportunity to respond, comment,

 or request a public hearing pursuant to section 13.3(c).       Such agencies

 shall include at least the agency responsible for the preparation of an
 approved plan pursuant to section 208(b) of the Federal Act.

    (5)                      Procedures for notice to and coordination with
 appropriate public health agencies for the purpose of assisting the

 applicant in coordinating the applicable requirements of the Act or the

 Federal Act with any applicable requirements of such public health
 agencies.




                                    - 13 -
                                  ADD21
f. Public Access to Information.
   (1)                 The Secretary shall insure that any forms

(including the draft permit prepared pursuant to section 13.3(b) (2) of
any public comment upon those forms pursuant to section 13.3(c) (2) shall
be available to the public for inspection and copying.    The Secretary, in
his discretion may also make available to the public any other records,

reports, plans, or information obtained by the Agency.
   (2)                 The Secretary shall protect any information (other

than effluent data) contained in such form, or other records, reports, or
plans as confidential upon showing by any person that such information if
made public would divulge methods or processes entitled to protection as

trade secrets of such person.    If, however, the information being

considered for confidential treatment is contained in a form, the
Secretary shall forward such information to the Regional Administrator for

his concurrence in any determination of confidentiality pursuant to the
agreement between EPA and the Agency described in section 13.2(c).

   (3)                 Any information accorded confidential status,

whether or not contained in a form, shall be disclosed, upon request, to
the Regional Administrator, or his authorized representative.

   (4)                 The Secretary shall provide facilities for the
inspection of information relating to forms and shall insure that Agency

employees honor requests for such inspection promptly without undue
requirements or restrictions.    The Secretary shall either (a) insure that
a machine or device for the copying of papers and documents is available
for a reasonable fee, or (b) otherwise provide for or




                                - 14 -
                            ADD22
coordinate with copying facilities or services such that requests for copies
of nonconfidential documents may be honored promptly.

  g. Public Hearings
     The Secretary shall provide an opportunity for the applicant, any
  affected Vermont Agency, any affected interstate agency, any affected

  country, the Regional Administrator, or any interested agency, person, or
  group of persons to request or petition for a public hearing with respect
  to applications.     Any such request or petition for public hearing shall be

  filed within the 30-day period prescribed in section 13.3(c)(2) and shall
  indicate the interest of the party filing such request and the reasons why
  a hearing is warranted.     The Secretary shall hold a hearing if there is a

  significant public interest (including the filing of requests or petitions

  for such hearing) in holding such a hearing.     Instances of doubt should be
  resolved in favor of holding the hearing.     Any hearing brought pursuant to

  this subsection shall be held in the geographical area of the proposed

  discharge or other appropriate area, in the discretion of the Secretary,
  and may, as appropriate, consider related groups of permit applications.

  h. Public Notice of Public Hearings.
     (1)                    Public notice of any hearing held pursuant to
  section 13.3(g) above shall be circulated at least as widely as was the

  notice of the application.    Procedures for the circulation of public
  notice for hearings held under section 13.3(g) shall include at least the

  following:
           (a)   Notice shall be published in at least one newspaper of
     general circulation within the geographical area of the discharge;




                                   - 15 -
                                 ADD23
      (b)     Notice shall be sent to all persons and Government agencies
which received a copy of the notice or the fact sheet for the

application;
      (c)     Notice shall be mailed to any person or group upon request;
and
      (d)      Notice shall be effected pursuant to subparagraphs (a) and

(c) of this paragraph at least thirty (30) days in advance of the
hearing.

(2)         The contents of public notice of any hearing held pursuant to
section 13.3(g) shall include at least the following:
      (a)      Name, address, and phone number of the Agency;

      (b)      Name, address of each applicant whose application will be

considered at the hearing;
      (c)      Name of waterway to which each discharge is made and a short

description of the location of each discharge on the waterway;
      (d)      A brief reference to the public notice issued for each

application, including identification number and date of issuance;

      (e)      Information regarding the time and location for the hearing;
      (f)      The purpose of the hearing;

      (g)      A concise statement of the issues raised by the persons
requesting the hearing;

      (h)     Address and phone number of Agency premises at which

interested persons may obtain further information, request a copy of
each draft permit prepared pursuant to section 13.3(b)




                                - 16 -
                              ADD24
         (2)       above, request a copy of each fact sheet prepared pursuant to
      section 13.3(d) and inspect and copy forms and related documents; and

             (i)                   A brief description of the nature of the hearing,
         including the rules and procedures to be followed.
 13.3i       PROCEDURE FOR PUBLIC HEARINGS
         (1)       Except as provided in paragraph (4) of this section, where the
      Secretary finds a significant degree of public interest in a proposed permit

      or group of permits, he shall hold a public hearing to consider such permit
      or permits.     Public notice of such hearing shall be given in a manner
      specified in subsection (h) of this rule.

         (2)       Hearings held pursuant to this section shall be conducted by the

      Secretary of his designee.
         (3)       Any person shall be permitted to submit oral or written statements

      and data concerning the proposed permit.     The Secretary shall have discretion

      to fix reasonable limits on the time allowed for oral statements and may
      require the submission of statements in writing.

         (4)       If the Secretary determines the useful information and data may be

      obtained thereby, the Secretary may hold a public hearing anytime prior to
      the issuance of the permit.     Notice of a public hearing pursuant to this

      section shall be circulated 30 days prior to the hearing.     The hearings shall
      be conducted in a manner set forth in paragraphs (2) and (3) of this section.

      All statements, comments and data presented at the hearing shall be retained

      by the Secretary and considered in the formulation of his determination.
      Where a public hearing is held pursuant to this paragraph, no public hearing
      is required pursuant to paragraph (1) above.


Rule 13.11 follows.




                                          - 17 -
                                        ADD25
of any facilities to treat such discharge, which may include arrangements for the
municipality to operate and maintain such facilities.    In such cases, the Secretary

may issue each permit to the municipality or to both the municipality and the owner
of the facilities.
RULE 13.11   CERTIFICATION OF ACTIVITIES REQUIRING FEDERAL LICENSE OR PERMIT.
   (a)   Certifying Agent:
      The certifying agent shall be the commissioner of the department of water

   resources.
   (b)   Application for Certification
      Application for certification pursuant to section 401 of PL 92-500 or any

   amendments thereto shall be made to the commissioner of the department of water
   resources, agency of environmental conservation.     The application shall contain

   information sufficient to determine that any discharge will comply with the
   applicable provisions of section 301, 302, 306, and 307 of PL 92-500, and, as

   minimum requirements, shall include a description of the location, manner,

   volume, nature, frequency and duration of the discharge and such additional
   information deemed necessary by the commissioner.

   (c)   Public Notice:

      The commissioner shall give notice of an application for certification in the
   manner as provided in Rule 13.3 c.

   (d)   Public Hearings:
      Public hearings with respect to applications for certification shall be
   governed by Rule 13.3 g.

   (e)   Notice of Public Hearings:
      Public notice of any hearing to be held with respect to any application for
   certification shall be governed by the provisions of Rule 13.3 h.




                                      - 34 -
                                   ADD26
      (f)       Procedure for Public Hearings:
           Procedure for public hearings with respect to an application for

      certification shall be conducted according to the provisions of Rule 13.3i (2)
      and (3).
      (g)       Content of Certification:
           (1)        Name and address of applicant.

           (2)        A statement that the certifying agency has either (i) examined the
      application made by the applicant to the licensing or permitting agency
      (specifically identifying the number or code affixed to each application) and

      bases of its certification upon an evaluation of the information contained in
      such application which is relevant to water quality considerations, or (ii)
      examined other information furnished by the applicant sufficient to permit the

      certifying agency to make the statement described in subparagraph (3) of this

      paragraph;
           (3)        A statement that there is a reasonable assurance that the activity

      will be conducted in a manner which will not violate applicable water quality

      standards;
           (4)        A statement of any conditions which the certifying agency deems

      necessary or desirable with respect to the discharge or the activity; and,
           (5)        Such other information as the certifying agency may determine to be

      appropriate.

           (6)        The certifying agency may modify the certification in such manner as

      may be agreed upon by the certifying agency and the regional administration
      (EPA).




Re-typed to create clean copy.




                                             - 35 -
                                            ADD27
